Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 1 of 135




          EXHIBIT A
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 2 of 135




                        IN THE STATE COURT OF COBB COUNTY
                                 STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )               CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
DIVERSIFIED MAINTENANCE             )
SYSTEMS, LLC                        )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

      ANSWER AND DEFENSES OF DEFENDANT DIVERSIFIED MAINTENANCE
           SYSTEMS, LLC TO PLAINTIFF’S AMENDED COMPLAINT

      COMES NOW, Defendant Diversified Maintenance Systems, LLC, (hereinafter referred

to as “Defendant”), and responds to the Amended Complaint filed by Aniefiok Frame

(hereinafter referred to as “Plaintiff”). Discovery has just commenced and no written

discovery or depositions have been undertaken or completed that would allow Defendant to

fully evaluate the issues regarding liability, damages, and defenses. Accordingly, this

Defendant responds with its preliminary answer and defenses. Without waiving this prefatory

position, Defendant responds as follows:

                                      FIRST DEFENSE

       Defendant asserts that the Amended Complaint fails to state a claim upon which relief

can be granted and, therefore, should be dismissed.

                                       FIRST DEFENSE

       Defendant hereby reserves his right to amend its Answer to assert any other appropriate

claims and/or defenses if such claims and/or defenses are supported by the facts and evidence that



                                           Page 1 of 9
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 3 of 135




are determined after Defendant conducts further investigation and discovery and has had an

opportunity to depose Plaintiffs and other witnesses, and Defendant hereby puts all parties on

notice that if such defenses are supported by the facts, Defendant will seek to amend its Answer at

such appropriate time.

                                     SECOND DEFENSE

       Defendant asserts that the injuries and damages alleged by Plaintiff may not have been

proximately caused by any negligence on the part of Defendant or any entity or person for whose

actions Defendant was legally liable. To the extent that Plaintiff’s damages were a result of

negligence, said negligence may be the proximate cause of the actions of entities or persons other

than Defendant.

                                      THIRD DEFENSE

       The injuries and damages complained of by Plaintiff may have been the result of actions

or omissions by a third-party or parties for whom Defendant is not responsible, and therefore,

Plaintiff may not be entitled to recover from Defendant.

                                     FOUTHTH DEFENSE

       Defendant asserts that upon information and belief, Plaintiff economic loss, if any, was or

will be replaced or indemnified, in whole or in part, from collateral sources, and Defendant is

entitled to have the Court consider the same in determining such special damages.

                                       FIFTH DEFENSE

       If Plaintiff has sustained any damages in this cause, Plaintiff may have failed to mitigate

said damages as required by law.

                                       SIXTH DEFENSE




                                           Page 2 of 9
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 4 of 135




       If Plaintiff has sustained any damages in this cause, Plaintiff’s medical expenses and

treatment incurred in connection to said alleged damages may not have been reasonable and

necessary as required by law and Plaintiff may therefore be unable to recover.

                                     SEVENTH DEFENSE

       Defendant asserts that the Amended Complaint fails to establish that Defendant

breached any duty or duties owed to Plaintiff.

                                      EIGHTH DEFENSE

       The Defendant asserts that if the evidence shows that Plaintiff was negligent in bringing

about the injuries and damages set forth in the Amended Complaint and said negligence was equal

to or greater than any negligence on behalf of Defendant, Plaintiff is not entitled to damages.

                                       NINTH DEFENSE

       The Defendant asserts that if the evidence shows that Plaintiff was comparatively negligent

in bringing about the injuries and damages set forth in the Amended Complaint, but Plaintiff’s

negligence was less than any negligence found on behalf the Defendant, any award of damages to

the Plaintiff should be reduced to the extent of Plaintiff’s own negligence.

                                       TENTH DEFENSE

       The Defendant asserts any alleged dangers connected with the alleged losses and injuries

may have been open and obvious to Plaintiff, and, therefore, the Defendant asserts the affirmative

defense of assumption of the risk and/or “avoidable consequences.”

                                            ANSWER

                               PARTIES AND JURISDICTION

                                                 1.




                                            Page 3 of 9
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 5 of 135




       Defendant is without knowledge or information sufficient to form a belief as to the truth of

the allegations contained in Paragraph 1 of the Plaintiff’s Amended Complaint.

                                                  2.

       Defendant admits the allegations contained in Paragraph 2 of the Plaintiff’s Amended

Complaint.

                                                  3.

       This allegation is not directed at this Defendant so this Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in Paragraph 3 of

the Plaintiff’s Amended Complaint.

                                                  4.

       This allegation is not directed at this Defendant so this Defendant is without knowledge or

information sufficient to form a belief as to the truth of the allegations contained in Paragraph 4 of

the Plaintiff’s Amended Complaint.

                                                  5.

       Defendant admits the allegations contained in Paragraph 5 of the Plaintiff’s Amended

Complaint.

                                  FACTUAL BACKGROUND

                                                  6.

       Defendant admits that at all times material hereto, it performed services pursuant to a

Master Services Agreement between Defendant and The Home Depot at the subject The Home

Depot retail store location at 4101 Roswell Road, Marietta, Cobb County, Georgia 30062.




                                             Page 4 of 9
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 6 of 135




                                                  7.

       Defendant admits that on or about July 16, 2019, an employee/agent of Defendant operated

a cleaning machine inside the subject store but is without knowledge or information sufficient to

form a belief as to the truth the remaining allegations contained in Paragraph 7 of the Plaintiff’s

Complaint.

                                                  8.

       Defendant denies the allegations contained in Paragraph 8 of the Plaintiff’s Amended

Complaint.

                                                  9.

       Defendant denies the allegations contained in Paragraph 9 of the Plaintiff’s Amended

Complaint.

                                                 10.

       Defendant denies the allegations contained in Paragraph 10 of the Plaintiff’s Amended

Complaint.

                                       Count 1: Negligence

       Defendant incorporates all defenses and responses as if fully set forth herein.

                                                 11.

       Defendant admits that at all material times it controlled the operations of its janitorial

services business and that it provided safety training to its employees, but Defendant denies the

remaining allegations contained in Paragraph 11 of the Plaintiff’s Amended Complaint.

                                                 12.

       Defendant denies the allegations contained in Paragraph 12 of the Plaintiff’s Amended

Complaint, including but not limited to subparagraphs (i), (ii), and (iii).



                                             Page 5 of 9
       Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 7 of 135




                                              13.

      Defendant denies the allegations contained in Paragraph 13 of the Plaintiff’s Amended

Complaint.

                                              14.

      Defendant denies the allegations contained in Paragraph 14 of the Plaintiff’s Amended

Complaint.

                                Count II: Premises Liability

                                              15.

      Defendant incorporates all defenses and responses as if fully set forth herein.

                                              16.

      Defendant denies the allegations contained in Paragraph 16 of the Plaintiff’s Amended

Complaint.

                                              17.

      Defendant denies the allegations contained in Paragraph 17 of the Plaintiff’s Amended

Complaint.

                                              18.

      Defendant denies the allegations contained in Paragraph 18 of the Plaintiff’s Amended

Complaint.

                                              19.

      Defendant denies the allegations contained in Paragraph 19 of the Plaintiff’s Amended

Complaint.




                                          Page 6 of 9
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 8 of 135




                                                  20.

        Defendant denies the allegations contained in Paragraph 20 of the Plaintiff’s Amended

Complaint, including but not limited to subparagraphs (a), (b), (c), (d), (e), and (f).

                             Wherefore Paragraph // Ad Damnum Clause

        To the extent the “Wherefore” paragraph (Ad damnum clause) contained in the Plaintiff’s

Complaint and requires a response, Defendant denies the same, including – but not limited to –

subparts (a), (b), (c), (d), and (e).

        WHEREFORE, Defendant respectfully prays as follows:

        a)      That the Plaintiff’s Amended Complaint be dismissed on the grounds set forth

                above and all costs cast against the Plaintiff;

        b)      In the alternative, that judgment be granted in favor of Defendant on all counts;

        c)      That Defendant have a trial by twelve (12) jurors, as the law provides;

        d)      For such other and further relief that the Court deems just and proper.

        This 29th day of March, 2021.

                                                   RUTHERFORD & CHRISTIE LLP

                                                   /s/ Carrie L. Christie
                                                   Carrie L. Christie
                                                   Georgia State Bar No. 125248
                                                   Savannah L. Bowling
                                                   Georgia State Bar No. 240161
                                                   Counsel for Defendant Diversified Maintenance
                                                   Systems, LLC


225 Peachtree Street
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Atlanta, Georgia 30303
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F: (404) 522-0108

                                             Page 7 of 9
       Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 9 of 135




clc@rclawllp.com
slb@rclawllp.com
info@rclawllp.com




                                  Page 8 of 9
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 10 of 135




                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
DIVERSIFIED MAINTENANCE             )
SYSTEMS, LLC                        )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                CERTIFICATE OF SERVICE

       This is to certify that I have on this date served all counsel in the foregoing matter with a

copy of the foregoing ANSWER AND DEFENSES OF DEFENDANT DIVERSIFIED

MAINTENANCE SYSTEMS, LLC TO PLAINTIFF’S AMENDED COMPLAINT by

electronic mail at the primary email address on record with the electronic filing service provider:

                                    Nigel Phiri, Esq.
                                Morgan & Morgan, PLLC
                                nphiri@forthepeople.com
                               mhendrix@forthepeople.com
                                   Counsel for Plaintiff
              th
       This 29 day of March, 2021.

                                                 RUTHERFORD & CHRISTIE LLP

                                                 /s/ Carrie L. Christie
                                                 Carrie L. Christie
                                                 Georgia State Bar No. 125248
                                                 Savannah L. Bowling
                                                 Georgia State Bar No. 240161
                                                 Counsel for Defendant Diversified Maintenance
                                                 Systems, LLC




                                            Page 9 of 9
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 11 of 135




The following filing was received by PeachCourt and has been successfully transmitted to the Clerk of
Cobb State Court. You will receive a separate confirmation message if this filing is accepted by the clerk.
We invite you to reply to this message if you have any questions.

Submission Date: 3/29/2021 at 1:37 PM
Peach #: E-ZTKUKEG5
Case #: 20-A-3901
Case Name: ANIEFIOK FRAME VS DIVERSIFIED MAINTENANCE SYSTEMS

Documents

Answer: Frame - DMS Answer to Amended Complaint
Frame - DMS Answer to Amended Complaint.pdf

Filer: Carrie Christie Payment amount: $0.00


Thank you for filing with PeachCourt, Georgia's eFiling and Document Access Solution.
If you have any questions about the status of this filing, please call the PeachCourt Support Center at
844-GA-EFILE (844-423-3453) and refer to Peach #E-ZTKUKEG5.

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                                        Call toll-free 844-GA-EFILE
                                 Chat at https://www.peachcourt.com/
                             Learn a lot at http://awesome.peachcourt.com/
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                                                                                   CLERK OF STATE COURT
                                                                                   COBB COUNTY, GEORGIA
                                                                                     20-A-3901
                  IN THE STATE COURT OF COBB COUNTY
                           STATE OF GEORGIA                                       MAR 25, 2021 12:48 PM


ANIEFIOK FRAME,                                    )
                                                   )
              PLAINTIFF,                           )
                                                   )    CIVIL ACTION
v.                                                 )    FILE NO: 20-A-3901
                                                   )
DIVERSIFIED MAINTENANCE                            )
SYSTEMS, LLC; ABC CORPS. #1-3;                     )
JOHN DOES #1-3,                                    )
                                                   )
              DEFENDANTS.                          )
                                                   )

                PLAINTIFF’S NOTICE OF FILING PROOF OF SERVICE

       COMES NOW, Plaintiff ANIEFIOK FRAME and files this Notice of Filing Sheriff’s

Entry of Service for service upon Defendant DIVERSIFIED MAINTENANCE SYSTEMS,

LLC’S Registered Agent for Service, Incorp Services Inc., attached hereto as Exhibit A, which

indicates Defendant’s Registered Agent was served with the:

          1. Summons and Amended Complaint;

          2. Plaintiff’s First Request for Admissions to Defendant Diversified Maintenance

              Systems, LLC;

          3. Plaintiff’s First Interrogatories and Request for Production of Documents to

              Defendant Diversified Maintenance Systems, LLC;

          4. Plaintiff’s Notice of 30(b)(6) Video Deposition of a Representative of Diversified

              Maintenance Systems, LLC; and

          5. Rule 5.2 Certificate of Service

on March 12, 2021 by Fulton County Marshal’s Department.




                                               1
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         This 25th day of March, 2021.

                                             Respectfully submitted,


                                             /s/ Nigel Phiri
                                             Nigel Phiri
                                             Georgia Bar No. 110935
                                             Attorney for Plaintiff

MORGAN & MORGAN ATLANTA, PLLC
P.O. Box 57007
Atlanta, GA 30343-1007
Main: (404) 965-8811
Fax:    (404) 496-7385
Email: nphiri@forthepeople.com




                                         2
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 14 of 135




                        EXHIBIT A
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 15 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                    MAR 19, 2021 04:22 PM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
DIVERSIFIED MAINTENANCE             )
SYSTEMS, LLC                        )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                 RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

       This is to certify that pursuant to the Uniform Superior Court Rule 5.2, I have on this date

served all counsel in the foregoing matter with a copy of DEFENDANT’S REQUEST FOR

PRODUCTION OF DOCUMENTS TO NON-PARTY THE DIRECTV GROUP, INC. by

electronic mail at the primary email address on record with the electronic filing service provider:

                                        Nigel Phiri, Esq.
                                  Georgia State Bar No. 110935
                                   nphiri@forthepeople.com

       This 19th day of March, 2021.

                                                             RUTHERFORD & CHRISTIE LLP

                                                             /s/ Carrie L. Christie
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
                                                             Attorneys for Diversified
                                                             Maintenance Systems, LLC
       Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 16 of 135

                                                                                   CLERK OF STATE COURT
                                                                                   COBB COUNTY, GEORGIA
                                                                                     20-A-3901
                        IN THE STATE COURT OF COBB COUNTY
                                 STATE OF GEORGIA                                 MAR 18, 2021 04:05 PM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )              CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
DIVERSIFIED MAINTENANCE             )
SYSTEMS, LLC                        )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

              SECOND AMENDED NOTICE TO TAKE DEPOSITION OF
                       PLAINTIFF ANIEFIOK FRAME

To:    Aniefiok Frame
       c/o Nigel Phiri, Esq.
       Morgan & Morgan, PLLC
       P.O. Box 57007
       Atlanta, Georgia 30343
       nphiri@forthepeople.com

       Please take notice that, pursuant to § 26 and § 30 of the Georgia Civil Practice Act

(O.C.G.A. §9-11-26 and §9-11-30), the Defendant Diversified Maintenance Systems, LLC

will take the stenographic and may take the video deposition of Plaintiff Aniefiok Frame on

March 24, 2021 commencing at 10:00 a.m. at the office of Nigel Phiri, Esq. located at Morgan

& Morgan, PLLC, 191 Peachtree St NE #4200, Atlanta, GA 30303 for the purpose of

discovery, the purpose of use as evidence at trial and any other purposes allowed under Georgia

Law.

       Notice is further given that we reserve the right to conduct this deposition using the

secure web-based deposition option afforded by Veritext or, in the alternative, video

teleconferencing (VTC) services offered by Veritext (“Web Deposition”) or telephonically only
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 17 of 135




to provide remote access for those parties wishing to participate in the deposition via the internet

and/or telephone. Also take notice that, the court reporter may also be remote via one of the

options above for the purposes of reporting the proceeding and may or may not be in the

presence of the deponent.

       Please contact the noticing attorney at least five (5) calendar days prior to the deposition

to advise that it is your desire to appear via this remote participating means so that the necessary

credentials, call-in numbers, testing and information, if necessary, can be provided to you prior

to the proceedings.

       In addition, we also reserve the right to use instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to the writing of the

same on one’s laptop, iPad, tablet or other type of display device connected to the court reporter.

       The deposition will be taken before an officer duly authorized by law to administer oaths,

and will continue until completed.

       This 18th day of March, 2021.

                                       RUTHERFORD & CHRISTIE LLP

                                       /s/ Carrie L. Christie

                                       Carrie L. Christie
                                       Georgia State Bar No. 125248
                                       Savannah L. Bowling
                                       Georgia State Bar No. 240161
                                       Attorneys for Defendant Diversified Maintenance Systems,
                                       LLC

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E-Mail: info@rclawllp.com
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 18 of 135




                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                 CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
DIVERSIFIED MAINTENANCE             )
SYSTEMS, LLC                        )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this date served the opposing party in the foregoing matter

with a copy of the SECOND AMENDED NOTICE TO TAKE DEPOSITION OF

PLAINTIFF ANIEFIOK FRAME by electronic mail at the primary email address on record

with the electronic filing service provider:

Nigel Phiri, Esq.                               Veritext Atlanta
Morgan & Morgan, PLLC                           calendar-ga@veritext.com
nphiri@forthepeople.com
mhendrix@forthepeople.com
Attorney for Plaintiff


       This 18th day of March, 2021.

                                       RUTHERFORD & CHRISTIE LLP

                                       /s/ Carrie L. Christie

                                       Carrie L. Christie
                                       Georgia State Bar No. 125248
                                       Savannah L. Bowling
                                       Georgia State Bar No. 240161
                                       Attorneys for Defendant Diversified Maintenance Systems,
                                       LLC
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 19 of 135

                                                                                      CLERK OF STATE COURT
                                                                                      COBB COUNTY, GEORGIA
                                                                                        20-A-3901
                        IN THE STATE COURT OF COBB COUNTY
                                 STATE OF GEORGIA                                    FEB 08, 2021 04:34 PM


ANIEFIOK FRAME,                                       )
                                                      )
     Plaintiff,                                       )         CIVIL ACTION NO.
                                                      )             20-A-3901
v.                                                    )
                                                      )
HOME DEPOT U.S.A., INC.; ABC CORPS #1-                )
3; JOHN DOE #1-3                                      )
                                                      )
     Defendants.                                      )

                  CERTIFICATE OF SERVICE OF DISCOVERY PURSUANT TO
                          THE UNIFORM STATE COURT RULE 5.2

         Pursuant to Rule 5.2 of the Uniform State Court Rules, the undersigned counsel of

Defendant Home Depot U.S.A., Inc. certifies that he has served the following pleading on all

counsel of record and that the same was sent via email, properly addressed thereon on January

14, 2021

     •   Defendant Home Depot U.S.A., Inc.’s Responses and Objections To Plaintiff’s First
         Request for Admissions to Defendant

         and served the following pleading on all counsel of record and that the same was sent via

email, properly addressed thereon on February 8, 2021

     •   Defendant Home Depot U.S.A., Inc.’s Responses and Objections to Plaintiff’s First
         Request for Production of Documents
     •   Defendant Home Depot U.S.A., Inc.’s Responses and Objections to Plaintiff’s First
         Interrogatories

         This 8th day of February, 2021.

                                              Respectfully submitted,
                                              HANKS LAW GROUP, LLC

                                              /s/ Brandon G. Day
                                              JERALD R. HANKS
                                              Georgia State Bar No. 323470
                                              BRANDON G. DAY
       Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 20 of 135




                                   Georgia State Bar No. 101496
                                   Attorneys for Defendant Home Depot, U.S.A., Inc.
The Hardin Building
1380 West Paces Ferry Road
Suite 2265
Atlanta, Georgia 30327
404-892-1991 (P)
404-892-8180 (F)
jrhanks@hankslawgroup.com
bday@hankslawgroup.com




                                      2
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 21 of 135




                        IN THE STATE COURT OF COBB COUNTY
                                 STATE OF GEORGIA

ANIEFIOK FRAME,                                      )
                                                     )
     Plaintiff,                                      )          CIVIL ACTION NO.
                                                     )              20-A-3901
v.                                                   )
                                                     )
HOME DEPOT U.S.A., INC.; ABC CORPS #1-               )
3; JOHN DOE #1-3                                     )
                                                     )
     Defendants.                                     )
                                 CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that I have this day served a copy of CERTIFICATE OF
SERVICE OF DISCOVERY PURSUANT TO THE UNIFORM STATE COURT RULE 5.2 via
electronic filing with PeachCourt to the following:
                                           Nigel Phiri
                                191 Peachtree Street N.E. Ste. 4200
                                     Atlanta, Georgia 30343
                                    nphiri@ForThePeople.com

         This 8th day of February, 2021.

                                                     Respectfully submitted,
                                                     HANKS LAW GROUP, LLC

                                                     /s /Brandon G. Day
                                                     BRANDON G. DAY
                                                     Georgia State Bar No. 101496
                                                     Attorney for Defendant Home Depot U.S.A., Inc.
1380 West Paces Ferry Rd., Suite 2265
Atlanta, Georgia 30305
404-892-1991 (P)
404-892-8180 (F)
bday@hankslawgroup.com
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 22 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                    FEB 18, 2021 11:51 AM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

         NOTICE TO TAKE DEPOSITION OF PLAINTIFF ANIEFIOK FRAME

To:    Aniefiok Frame
       c/o Nigel Phiri, Esq.
       Morgan & Morgan, PLLC
       P.O. Box 57007
       Atlanta, Georgia 30343
       nphiri@forthepeople.com

       Please take notice that, pursuant to § 26 and § 30 of the Georgia Civil Practice Act

(O.C.G.A. §9-11-26 and §9-11-30), the Defendant Home Depot, U.S.A., Inc. will take the

stenographic and may take the video deposition of Plaintiff Aniefiok Frame on March 22,

2021 commencing at 10:00 a.m. at the office of Nigel Phiri, Esq. located at Morgan &

Morgan, PLLC, 191 Peachtree St NE #4200, Atlanta, GA 30303 for the purpose of discovery,

the purpose of use as evidence at trial and any other purposes allowed under Georgia Law.

       Notice is further given that we reserve the right to conduct this deposition using the

secure web-based deposition option afforded by Veritext or, in the alternative, video

teleconferencing (VTC) services offered by Veritext (“Web Deposition”) or telephonically only

to provide remote access for those parties wishing to participate in the deposition via the internet

and/or telephone. Also take notice that, the court reporter may also be remote via one of the
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 23 of 135




options above for the purposes of reporting the proceeding and may or may not be in the

presence of the deponent.

       Please contact the noticing attorney at least five (5) calendar days prior to the deposition

to advise that it is your desire to appear via this remote participating means so that the necessary

credentials, call-in numbers, testing and information, if necessary, can be provided to you prior

to the proceedings.

       In addition, we also reserve the right to use instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to the writing of the

same on one’s laptop, Ipad, tablet or other type of display device connected to the court reporter.

       The deposition will be taken before an officer duly authorized by law to administer oaths,

and will continue until completed.

       This 18th day of February, 2021.

                                      RUTHERFORD & CHRISTIE LLP

                                      /s/ Carrie L. Christie

                                      Carrie L. Christie
                                      Georgia State Bar No. 125248
                                      Savannah L. Bowling
                                      Georgia State Bar No. 240161
                                      Attorneys for Defendant Home Depot, U.S.A., Inc.

225 Peachtree Street NE
South Tower, Suite 1750
Atlanta, Georgia 30303
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F: (404) 522-0108
E-Mail: info@rclawllp.com
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 24 of 135




                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                CERTIFICATE OF SERVICE

       This is to certify that I have on this date served the opposing party in the foregoing matter

with a copy of the NOTICE TO TAKE DEPOSITION OF PLAINTIFF by electronic mail at

the primary email address on record with the electronic filing service provider:

Nigel Phiri, Esq.                              Veritext Atlanta
Morgan & Morgan, PLLC                          calendar-ga@veritext.com
nphiri@forthepeople.com
Attorney for Plaintiff



       This 18th day of February, 2021.

                                      RUTHERFORD & CHRISTIE LLP

                                      /s/ Carrie L. Christie

                                      Carrie L. Christie
                                      Georgia State Bar No. 125248
                                      Savannah L. Bowling
                                      Georgia State Bar No. 240161
                                      Attorneys for Defendant Home Depot, U.S.A., Inc.
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 25 of 135

                                                            CLERK OF STATE COURT
                                                            COBB COUNTY, GEORGIA
                                                              20-A-3901
                                                           MAR 05, 2021 10:02 AM
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 26 of 135
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 27 of 135
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 28 of 135

                  STATE COURT OF COBB COUNTY
                       STATE OF GEORGIA




                   CIVIL ACTION NUMBER 20-A-3901

                                                $0.00 COST PAID
Frame, Afieniok
FRAME, ANIEFIOK

PLAINTIFF
                                          VS.
The Home Depot, Inc.
ABC CORPS. #1-3
DOES #1-3, JOHN
THE HOME DEPOT, INC.;
ABC CORPS. #1-3;
DOES #1-3, JOHN
HOME DEPOT., U.S.A. INC.
Diversified Maintenance Systems, LLC

DEFENDANTS




12 East Park Square, Marietta, Georgia 30090-9630
                                                                  Page 1 of 2
(770) 528-1220 Building B, First Floor-Civil Division
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 29 of 135

                  STATE COURT OF COBB COUNTY
                       STATE OF GEORGIA




                             SUMMONS
TO: DIVERSIFIED MAINTENANCE SYSTEMS, LLC

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

                          Phiri Nigel
                          Morgan & Morgan, PLLC
                          P.O. BOX 57007
                          Atlanta, Georgia 30343

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If this action pertains to a Protective
Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint.

This 2nd day of March, 2021.
                                                 Clerk of State Court




12 East Park Square, Marietta, Georgia 30090-9630
                                                                                      Page 2 of 2
(770) 528-1220 Building B, First Floor-Civil Division
            Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 30 of 135

                                                                                        CLERK OF STATE COURT
                                                                                        COBB COUNTY, GEORGIA
                                                                                           20-A-3901
                       IN THE STATE COURT OF COBB COUNTY
                                STATE OF GEORGIA                                       MAR 01, 2021 11:37 AM


 ANIEFIOK FRAME,                                     )
                                                     )
                    PLAINTIFF,                       )
                                                     )       CIVIL ACTION
 v.                                                  )       FILE NO: 20-A-3901
                                                     )
 DIVERSIFIED MAINTENANCE,                            )
 LLC; ABC CORPS. #1-3;                               )
 JOHN DOES #1-3,                                     )
                                                     )
                    DEFENDANTS.                      )
                                                     )

                            Rule 5.2 Certificate of Serving Discovery

        Plaintiff hereby certifies that a true and correct copy of the following was delivered for
service with the summons.

      1.   Summons and Complaint;
      2.   Plaintiff’s First Request for Admissions to Defendants
      3.   Plaintiff’s First Continuing Interrogatories to Defendants; and
      4.   Plaintiff’s First Request for Production of Documents to Defendants

           This 26th day of February, 2021.


                                                            Respectfully submitted,


                                                            /s/ Nigel Phiri
                                                            Nigel Phiri
                                                            Georgia Bar No. 110935
                                                            Attorney for Plaintiff

 MORGAN & MORGAN ATLANTA, PLLC
 P.O. Box 57007
 Atlanta, GA 30343-1007
 Main: (404) 965-8811
 Fax:    (404) 496-7385
 Email: nphiri@forthepeople.com
       Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 31 of 135

                                                                                        CLERK OF STATE COURT
                                                                                        COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                     IN THE STATE COURT OF COBB COUNTY
                                                                                      MAR 01, 2021 11:37 AM
                              STATE OF GEORGIA

 ANIEFIOK FRAME,                                      )
                                                      )
                  PLAINTIFF,                          )
                                                      )        CIVIL ACTION
 v.                                                   )        FILE NO: 20-A-3901
                                                      )
 DIVERSIFIED MAINTENANCE                              )
 SYSTEMS, LLC; ABC CORPS. #1-3;                       )        JURY TRIAL DEMANDED
 JOHN DOES #1-3,                                      )
                                                      )
                  DEFENDANTS.                         )
                                                      )

         TOPICS OF PLAINTIFF'S OCGA 9-11-30(B)(6) 30 DEPOSITION OF
           DEFENDANT DIVERSIFIED MAINTENANCE SYSTEMS, LLC

          COMES NOW Plaintiff Aniefiok Frame (hereinafter “Plaintiff”) and files this his Topics
of Plaintiff's OCGA 9-11-30(b)(6) Deposition of Defendant Diversified Maintenance Systems,
LLC (hereinafter “Defendant”) requesting that, pursuant to OCGA 9-11-30(B)(6) 30, Defendant
is to designate one or more officers, directors, or managing agents, or other persons who consent
to testify on Defendant’s behalf pertaining to the incident that occurred at Defendant’s store, which
is located at 2950 Chapel Hill Road, Douglasville, Georgia 30135 (the “Premises”) on July 16,
2019 in which Plaintiff was injured, and specifically:

                                      GENERAL TOPICS:

      1. The identity of all employees or contractors you spoke with to prepare to discuss the
         topics in this deposition notice.

      2. The subject matter and content of all communications between you and any individual
         to prepare yourself to discuss the topics in this deposition notice, not including
         communications containing legal advice from attorneys or legal professionals.

      3. All documents, photographs, videos, pleadings, discovery responses, and/ or written
         communications you reviewed to prepare to discuss the topics in this deposition notice,
         not including those containing legal advice prepared by attorneys or legal
         professionals.

                        TOPICS REGARDING GENERAL HAZARDS

      4. Your procedures on July 16, 2019 for inspecting and removing hazards on the Premises.
                                             Page 1
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5. Your definition of a “hazard” within the common areas and how your employees are
   expected to identify potential hazards on the Premises. NOTE: The deponent should be
   able to explain why and how you and your employees consider something a
   “hazard” on the Premises on July 16, 2019.

6. The purpose for inspecting for and removing “hazards” within the common areas on July
   16, 2019, if you had a procedure for inspecting for potential hazards on July 16, 2019.

               TOPICS REGARDING INSPECTION PROCEDURES

7. Your procedures for inspecting and removing hazards in the flooring area where the
   incident occurred on July 16, 2019.

8. Your procedures for training employees on inspecting and removing hazards in the
   flooring area where the incident occurred on July 16, 2019.

9. Your procedures for performing inspection and maintenance around shelves and end
   caps throughout the Premises on July 16, 2019.

10. Your procedures for training employees on performing inspection and maintenance
    around shelves and end caps throughout the Premises on July 16, 2019.

11. Potential hazards present when inspecting and maintaining the Premises floor.

12. Potential hazards present when inspecting and maintaining the flooring area around
    shelves and end caps.

13. Potential hazards created by the performance of inspecting and maintaining flooring
    around shelves and end caps.

                TOPICS REGARDING THE SUBJECT PREMISES

14. Ownership and ownership structure of the subject Premises.

15. The names and job titles for all individuals that worked on the Premises on July 16, 2019.

16. The names and job titles for all individuals that spoke with Plaintiff while she was on the
    Premises on July 16, 2019.

17. Operational factors in effect on July 16, 2019 regarding the Premises to include:

       a.   Hours of operation.
       b.   Shopping patterns.
       c.   Foot traffic.
       d.   Number of aisles in the store.
                                        Page 2
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       e. Layout of the area of the store where the incident happened.
       f. Frequency of inspections.

            TOPICS REGARDING THE SUBJECT SHELF/END CAP

18. The make and model of the shelf/end cap that collapsed onto Plaintiff.

19. Any manufacturer’s instructions included with the shelf/end cap.

20. The weight of the shelf/end cap.

21. The current physical location of the shelf/end cap.

22. The material used to create the shelf/end cap (what material is made from).

23. Any identifying markers on the shelf/end cap to include:

       a. Color,
       b. Dimensions
       c. Physical attributes.

                TOPICS REGARDING THE SUBJECT MACHINE

24. The make and model of the machine that made contact with shelf/end cap that collapsed
    onto Plaintiff.

25. Any manufacturer’s instructions included with the machine.

26. The weight of machine.

27. The current physical location of the machine.

28. The material used to create the machine (what material is made from).

29. Any identifying markers on the machine cap to include:

       d. Color,
       e. Dimensions
       f. Physical attributes.

                TOPICS REGARDING THE SUBJECT INCIDENT

30. How the subject incident occurred.

31. The last inspection/cleaning/maintaining of the subject area prior to Plaintiff’s fall.

                                         Page 3
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32. Who is fault for the subject incident occurring.

33. All liability and excess policies providing liability insurance for injuries on Premises in
    effect on July 16, 2019.

        TOPICS REGARDING INCIDENT and INCIDENT REPORTING

34. All correspondences you received from Plaintiff and/ or Plaintiff’s attorney within one
    year after the date of incident, including the date of receipt, content, and instructions.

35. The identity of all individuals who created an incident report, inspected the scene of
    Plaintiff’s incident on the Premises, spoke with Plaintiff about the incident, and spoke
    with any other potential witnesses to the subject incident.

36. Your procedures for investigating and documenting incidents involving bodily injuries
    on the Premises on or about the date of incident.

37. The method and policy for completing incident reports by you and your employees on
    July 16, 2019.

38. All information you collected during your investigation of this incident as part of your
    standard operating procedure related to reports of personal injuries on the Premises.
    NOTE: This topic specifically requests information that was obtained prior to the
    involvement of your attorneys and does NOT include any information obtained as
    part of work-product of your attorneys.

39. The results of any investigation by you and your employees to determine what may have
    caused      the     subject     incident.    NOTE:      This      topic   specifically
    requests information that was obtained prior to the involvement of your
    attorneys and does NOT include any information obtained as part of work-product
    of your attorneys.

40. Reprimands, punishments, or warnings given to employees in connection with Plaintiff’s
   incident on July 16, 2019.

                               VIDEO SURVEILLANCE

41. The location, quantity, type, model, and brand of any and all surveillance/ video cameras
    and recording equipment located on the Premises on July 16, 2019.

42. The operation of any such video surveillance equipment on July 16, 2019,
    including self-deleting functions and preservation options of the footage.

43. The individuals with access and control of the video surveillance footage from the
    Premises on July 16, 2019.

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  44. The current location and status of any and all video surveillance footage from the
      Premises from the date of incident.

  45. Your policies and procedures related to preserving video surveillance footage in the event
      of a reported personal injury on the Premises on or about the date of incident.

  46. All individuals who were shown, have viewed, controlled, were sent, received, or stored
      any video surveillance footage from the Premises on July 16, 2019.

  47. Defendant’s Answer and Defendant’s Discovery Responses.

  48. Defendant’s website at www.diversifiedm.com

     This 26th day of February, 2021.

                                            Respectfully Submitted,

                                            /s/ Nigel Phiri
                                            Nigel Phiri
                                            Georgia Bar Number 110935
                                            Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
P.O. Box 57007
Atlanta, Georgia 30343-1007
Telephone:    (404) 965-8811
Facsimile:    (404) 965-8812




                                         Page 5
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                  IN THE STATE COURT OF COBB COUNTY
                           STATE OF GEORGIA

 ANIEFIOK FRAME,                                   )
                                                   )
               PLAINTIFF,                          )
                                                   )          CIVIL ACTION
 v.                                                )          FILE NO: 20-A-3901
                                                   )
 DIVERSIFIED MAINTENANCE                           )
 SYSTEMS, LLC; ABC CORPS. #1-3;                    )          JURY TRIAL DEMANDED
 JOHN DOES #1-3,                                   )
                                                   )
               DEFENDANTS.                         )
                                                   )

                               CERTIFICATE OF SERVICE

       This certifies that I have this day served a copy of the foregoing TOPICS OF

PLAINTIFF'S OCGA 9-11-30(B)(6) 30 DEPOSITION OF DEFENDANT DIVERSIFIED

MAINTENANCE SYSTEMS, LLC using the court’s electronic filing system upon the

following:

                             RUTHERFORD & CHRISTIE LLP
                                     Carrie Christie
                                 Savannah L. Bowling
                                225 Peachtree Street, NE
                                South Tower, Suite 1750
                                 Atlanta, Georgia 30303

                               HANKS LAW GROUP, LLC
                                     Jerald R. Hanks
                                     Brandon G. Day
                          1380 West Paces Ferry Road, Suite 2265
                                 Atlanta, Georgia 30305


       This 26th day of February, 2021.

                                            Respectfully Submitted,

                                            /s/ Nigel Phiri
                                          Page 6
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                                  Nigel Phiri
                                  Georgia Bar Number 110935
                                  Attorney for Plaintiff
MORGAN & MORGAN ATLANTA PLLC
P.O. Box 57007
Atlanta, Georgia 30343-1007
Telephone: (404) 965-8874




                                Page 7
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                                                                                        CLERK OF STATE COURT
                                                                                        COBB COUNTY, GEORGIA
                                                                                           20-A-3901
                    IN THE STATE COURT OF COBB COUNTY
                             STATE OF GEORGIA                                          MAR 01, 2021 11:37 AM


 ANIEFIOK FRAME,                                     )
                                                     )
                PLAINTIFF,                           )
                                                     )       CIVIL ACTION
 v.                                                  )       FILE NO:
                                                     )
 THE HOME DEPOT, INC.;                               )
 ABC CORPS. #1-3;                                    )       JURY TRIAL DEMANDED
 JOHN DOES #1-3,                                     )
                                                     )
                DEFENDANTS.                          )
                                                     )

                PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION OF
                         DOCUMENTS TO DEFENDANTS

       COMES NOW Plaintiff and hereby requests that Defendant produce for inspection and

copying the following documents in the possession, custody, or control of Defendant and its

representative pursuant to O.C.G.A. § 9-11-34 within forty-five (45) days from the date of service

hereof at the Law Firm of Morgan & Morgan Atlanta, P.L.L.C., 191 Peachtree Street NE, Suite

4200, Atlanta, Georgia 30303, or at such other time, date, and location agreed to by counsel for

defendant and the undersigned counsel, and to serve a written response hereto within forty-five

(45) days from the date of service hereof.

                                         DEFINITIONS

       If a privilege is claimed as to any documents covered by this request for production,

plaintiffs ask that each document to which privilege is claimed be identified with such particularity

and in such a manner that the Court, and not counsel unilaterally, may determine whether the

document is indeed entitled to privileged status.

       As used herein, the terms listed below mean the following:
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 39 of 135




       1. “Document” means every writing, electronic data or file, printing, record, graphic,

photographic or sound reproduction of every type and description that is in your possession,

control, custody and knowledge, including but not limited to correspondence, memoranda,

agreements, minutes, assignments, records, stenographic and handwritten notes, diaries,

notebooks, account books, orders, invoices, notices, statements, bills, files, checks, check stubs,

account ledgers, maps, charts, diagrams, analyses, books, pamphlets, work sheets, data sheets,

statistical compilations, data cards, microfilms, computer records (including printouts, floppy discs

or other magnetic storage media), e-mails, tapes, photographs, pictures, recordings (both voice and

videotape) and all copies of such documents, writings or records when such copies contain any

commentary or notation whatsoever that Does not appear on the original.

       2.    “Person” means any natural person, organization, corporation, partnership,

proprietorship, association, group of persons, or any governmental body or subdivision thereof.

       3. If you contend that any documents are privileged or protected by the attorney work

product doctrine, please produce a Privilege Log for those documents.

       4. The headers applied to these requests are for organizational purposes and for use as

shorthand in meet and confer conferences. The words in the headings are not a substitute for a full

reading of the words in the actual request.


                                   DOCUMENT REQUESTS

                                                 1.

       Each and every document, tangible object, or other item of real, demonstrative or

documentary evidence which provides any and all factual support for each defense asserted by you

in Answer to Plaintiff’s Amended Complaint.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 40 of 135




                                                   2.

        Any and all photographs, videos, drawings, maps or sketches of the scene of the incident.

                                                   3.

        Any surveillance photographs, movies or videotapes made of Plaintiff.

                                                   4.

        Please produce every insurance agreement under which an insurance business may be

liable to you to satisfy part or all of any judgment which may be entered in this action or to

indemnify or reimburse you for any payments made to satisfy such judgment.

                                                   5.

        All documents relating to any controversy as to whether or not coverage is afforded to you

under any insurance agreements, including but not limited to any non-waiver agreements and

letters of reservation of rights.

                                                   6.

        Each and every document comprising a report made by any person, firm, association or

other entity (including insurance adjusters and management) that has conducted any investigation

to determine any of the facts pertaining to any of the issues in this action.

                                                   7.

        Each and every document comprising a report made by any person you expect to call as an

expert witness on the trial of this case.

                                                   8.

        Please produce every document provided to you by any expert you expect to call as an

expert witness at trial of this case that relate to any facts about the subject matter of this action.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 41 of 135




                                                 9.

       Each and every document relating to any written or recorded statement inquired about in

Interrogatory No. 6 of Plaintiff’s First Interrogatories propounded to you.

                                                10.

       Please produce all statements Plaintiff provided to you or in your possession concerning

the subject matter of this action.

                                                11.

       All documents that discuss, review, explain, outline, and/or define Defendant’s

procedure(s) for reporting, taking and/or filing incident reports, effective on the date of this

incident as alleged in the Amended Complaint.

                                                12.

       All documents that discuss, review, explain, outline, and/or define Defendant’s

procedure(s) for reporting, taking and/or filing incident reports, effective after the date of this

incident as alleged in the Amended Complaint.

                                                13.

       The safety policies, manuals, standards, guidelines, handbooks, memos and procedures

effective on the date of this incident as alleged in the Amended Complaint for the subject property,

including but not limited to any references to procedures for inspection of the premises, or any

reference to the subject falling object.

                                                14.

       The safety policies, manuals, standards, guidelines, handbooks, memos and procedures

effective after the date of this incident as alleged in the Amended Complaint for the subject

property, including but not limited to any references to procedures for inspection, maintenance or
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 42 of 135




cleaning the shelves in the area where Plaintiff fell.

                                                 15.

       A blank copy of the incident report used by Defendants for documenting, and reporting

Plaintiff’s injury at the subject property on the date of this incident as alleged in the Amended

Complaint.

                                                 16.

       A fully legible copy of the incident report completed by you and regarding Plaintiff’s injury

at the subject property on the date of this incident as alleged in the Amended Complaint.

                                                 17.

       All written notes, schedules, memos, computer documentation, etc., which evidence any

inspections of the subject property for the last three (3) years.

                                                 18.

       Please produce all legal complaints filed against you since the date of the incident alleged

in the Amended Complaint, for allegations of an injury at the subject Premises.

                                                 19.

       Please produce copies of all letters, documents, incident reports, insurance claims, and/or

emails concerning any allegation of a falling object at the Premises for the last three (3) years.

                                                 20.

       Please produce copies of the personnel file for each employee who, to your knowledge,

spoke with Plaintiff on the date of incident, cleaned or inspected within 20 feet radius of the area

on the Premises where Plaintiff was injured on the date of incident prior to Plaintiff’s injury,

provided statements relating to any investigation or creation of an incident report related to the
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 43 of 135




condition of the shelf or the falling object on the date of incident, and preserved any video

recordings of Plaintiff on the Premises from the date of incident.

                                                 21.

         Copies of any and all letters, documents, reports, invoices, service records and emails

concerning incidents of someone becoming injured on the subject property for the last three (3)

years.

                                                 22.

         Copies of any depositions taken of any of your employees, experts, consultants, or witness

in any case in the last five (5) years involving allegations of someone becoming injured at the

subject property.

                                                 23.

         Copies of any and all letters, documents, incident reports, insurance claims, and/or emails

concerning any allegation of a workers’ compensation injury being sustained at the subject

property for the last three (3) years.

                                                 24.

         Please produce all technical bulletins or directives sent by you or posted at the subject

property concerning slip and falls in the last five (5) years.

                                                 25.

         Any and all documents that relate to any firings, reprimands, suspensions, punishments,

complaints, grievances, allegations, denials of any and all of your employees, or agents, who

allegedly, or actually, failed to inspect the subject area concerning Plaintiff’s injury at your

property on the date of the incident as alleged in the Amended Complaint.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 44 of 135




                                                  26.

        Any and all warnings you contend you provided, either verbally or by signage, with respect

to the area at the subject property prior to Plaintiff’s injury on the date of the incident as alleged in

the Amended Complaint.

                                                  27.

        Copies of any and all letters, documents, reports, invoices, service records and emails

concerning the subject object and shelf at the subject property in the subject area in the last three

(3) years.

                                                  28.

        Copies of any and all of your employee timesheets, reports, invoices, and emails

concerning work at the subject property on the date of the incident as alleged in the Amended

Complaint.

                                                  29.

        A copy of all witness and employee statements gathered in conjunction with the incident

report completed by you and regarding Plaintiff’s injury at the subject property on the date of the

incident as alleged in the Amended Complaint.

                                                  30.

        Please produce copies of any and all documents or reports related to the area on the

Premises where Plaintiff was injured on the date of this incident including the procedure for

warning patrons of potentially hazardous conditions that may be created in that area.
     Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 45 of 135




    This 25th day of February, 2021.

                                            Respectfully submitted,

                                            /s/ Nigel Phiri
                                            Nigel Phiri
                                            Georgia Bar No. 110935
                                            Attorney for Plaintiff
MORGAN & MORGAN ATLANTA, PLLC
P.O. Box 57007
Atlanta, GA 30343-1007
Main: (404) 965-8811
Fax:    (404) 496-7385
Email: nphiri@forthepeople.com
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 46 of 135

                                                                                         CLERK OF STATE COURT
                                                                                         COBB COUNTY, GEORGIA
                                                                                            20-A-3901
                    IN THE STATE COURT OF COBB COUNTY
                             STATE OF GEORGIA                                           MAR 01, 2021 11:37 AM


 ANIEFIOK FRAME,                                     )
                                                     )
                PLAINTIFF,                           )
                                                     )        CIVIL ACTION
 v.                                                  )        FILE NO: 20-A-3901
                                                     )
 DIVERSIFIED MAINTENANCE,                            )
 LLC; ABC CORPS. #1-3;                               )
 JOHN DOES #1-3,                                     )
                                                     )
                DEFENDANTS.                          )
                                                     )

      PLAINTIFF’S FIRST CONTINUING INTERROGATORIES TO DEFENDANTS

       COMES NOW Plaintiff and serves upon each Defendant Plaintiff’s First Continuing

Interrogatories to be answered under oath and within forty-five (45) days from service hereof in

accordance with O.C.G.A. § 9-11-33.

       These Interrogatories shall be deemed continuing so as to require supplemental answers if

you or your attorneys obtain further information between the time the answers are served and the

time of trial. Any such supplemental answers are to be filed and served upon counsel for Plaintiffs

within thirty (30) days from the receipt of such information, but not later than the time of trial.

                                          DEFINITIONS

       When used in these Interrogatories, the term “Defendant,” or any synonym thereof, is

intended to and shall embrace servants, representatives, private investigators, and others who are

in a position of or may have obtained information for or on behalf of any Defendant.

       As used in these Interrogatories, the following words and phrases have the meanings set

forth below.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 47 of 135




       (1) “You” and “your” means and refers to the Defendant to whom these interrogatories

are directed, and includes your agents, employees, insurance company and their agents and

employees, your attorneys, investigators and anyone else acting on your or their behalf.

       (2)     The term “document” means and includes all correspondence, writings, records,

memoranda, drawings, graphs, charts, photographs, motion pictures, videotapes, videodisks,

audiotapes or other sound recordings, books, ledgers, financial records, checks, drafts, receipts,

forms prescribed by government agencies, computer tapes, computer disks, computer printouts,

photocopies, microfilm, microfiche, and any other data, sound, or image compilation or recording

from which information regarding the described transactions can be obtained, translated if

necessary by respondent through appropriate and necessary devices into reasonably useable and

intelligible form.

       (3)     “Person” includes any individual, corporation, partnership, government, or

business entity, and group of persons associated in fact although not a legal entity.

       (4)     “Identify” means the following:

       (a)     When used with respect to individuals, means to state the full name, address,

telephone number, place of employment, job title and present whereabouts of such person;

       (b)     When used with respect to persons other than individuals, as the term “persons” is

identified in (3) above, means to state the full name, address and telephone number of such

“person” together with the name, address, telephone number and job title of the employee, agent,

servant or representative of such “person” who has knowledge of the particular facts or possession,

custody or control of the particular documents of which discovery is sought;

       (c)     When used with respect to documents, tangible objects, or other items of real or

demonstrative evidence, means to list the items of which discovery is sought, describe them in
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 48 of 135




specific detail (give an exhibit number for each if one has been assigned) and state the name,

address and telephone number of the person who presently has possession, custody or control over

each item of real or documentary evidence listed; and

       (d)     When used with respect to facts, circumstances or information, means to give a

concise summary of the nature and substance of the facts, circumstances or information of which

discovery is sought.

                                    INTERROGATORIES

                                                1.

       Please identify the full and correct legal names of the owners, manager(s), and operators

of Defendant Diversified Maintenance Systems, LLC who performed maintenance services at the

Home Depot located at 4101 Roswell Road, Marietta, Cobb County, Georgia 30062 (the

“Premises”) on July 16, 2019 (the “date of incident”). If these are different persons or entities,

please clarify which parties owned and which managed or operated the Premises.

                                                2.

       Identify the person or persons responding to these Interrogatories and all individuals that

have provided assistance to you in responding to Plaintiff’s First Interrogatories and Requests for

Documents.

                                                3.

       If you contend that Plaintiff has brought action against the wrong entity due to a misnomer,

please state the complete name of the correct defendant in this action; and further state whether

you will accept service of an amended Summons and Complaint reflecting the information

furnished by you in response to this Interrogatory.
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                                                   4.

       With particularity sufficient to satisfy O.C.G.A. § 9-11-26 (b)(2), please identify any policy

or policies of liability insurance which would or might inure to the benefit of Plaintiff by providing

for payment of a part of, or all of any judgment rendered in favor of Plaintiff against Defendants

or against any other person, firm or corporation which is or may be liable to Plaintiff by reason of

the incident described in the Complaint.

                                                   5.

       Please identify all persons (including employees and other witnesses) who to you or your

representatives' knowledge, information or belief:

       (a)     Were eyewitnesses to the incident that gives rise to this lawsuit;

       (b)     Have relevant knowledge concerning the incident that gives rise to this lawsuit, any

               issue of liability or the damages in connection with this lawsuit, who were not

               identified in sub-part (a);

       (c)     Arrived at the scene of the occurrence complained of in this action immediately or

               shortly after its occurrence; and

       (d)     Assisted Plaintiff after sustaining an injury at the subject premises.

                                                   6.

       Please identify all persons who have given written or recorded statements covering the

facts and/or circumstances of the incident which is the subject matter of this litigation, and state

the name of each person, the name and address of the person or entity taking each statement, the

date each statement was taken, and the name and address of each person having possession,

custody or control of each statement.
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                                                  7.

        Please identify any videos, photographs, diagrams or other pictorial representations

concerning the events and happenings alleged in Plaintiff’s Complaint.

                                                  8.

        Please identify each person (whether your employee or a claims adjuster, etc.) who has

made an investigation or study of the subject incident or location on the Premises.

                                                  9.

        With particularity sufficient to satisfy O.C.G.A. § 9-11-26 (b)(4), please identify all

persons (whether your employees or not) whom you expect to call or may call as an expert witness

upon the trial of this matter.

                                                 10.

        Identify each person you employ who was working on the Premises on the date of the

incident, including the times they were working, their titles/positions, and whether they were

required to inspect and/or clean the area where Plaintiff fell on the Premises on the date of incident.

                                                 11.

        To your information or belief, has there been any surveillance, photographs or videos of

any party? If so, identify what party was photographed or videoed, and identify all persons who

now have or have had custody and/or control of any records, tapes, films or other recording of

such surveillance.

                                                 12.

        Please identify every time you have been informed about the falling object from the shelf

within a 20’ radius of Plaintiff on the date of the incident. Include with your response the name of

the person providing the information, the date the information was provided, the individual who
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received the information, and any and all steps that were taken in response to the information.

                                                    13.

       Please identify each individual who setup, cleaned, inspected or otherwise was responsible

for maintenance duties on the date of this incident as alleged in the Complaint at the subject

property. Were these person(s) employees or agents of Defendants? If not, please identify what

entity employed them at the time of Plaintiff’s injury.

                                                    14.

       State each and every fact upon which you rely for each affirmative defense in your Answer

to Plaintiff’s Complaint.

                                                    15.

       Identify any and all persons known to Defendants who have become injured at the subject

property at any time in the last three (3) years.

                                                    16.

       In reference to the individual(s) identified in the previous Interrogatory, please state the

following:

       (a)     The exact location at the subject property where the individual was injured;

       (b)     The cause of the injury;

       (c)     Whether any incident report was prepared;

       (d)     The information contained in such incident report;

       (e)     The name, addresses, home telephone numbers, present place of employment, work

               telephone numbers, job titles, and present whereabouts of any and all persons

               having knowledge regarding said injury.
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                                                17.

       Please state whether there existed, prior to the incident which is the subject of Plaintiff’s

Complaint, any procedure or program for the regular inspection of the subject property by

Defendants or someone acting in its behalf, which such procedure or program was designed to

identify and/or discover potential hazards to the users of the premises thereof. If so:

       (a)     Provide a general description of each such procedure or program, including the

               identity of each person charged with the responsibility for implementing and

               conducting each such procedure or program;

       (b)     State the regularity with which each such procedure or program was to be

               implemented or conducted, if applicable;

       (c)     State whether the procedure or program had been carried out prior to the date of the

               subject incident; and

       (d)     Identify all documents relating to each such procedure or program and their

               findings.

                                                18.

       Please identify any and all procedures or programs for inspection of the subject property,

existing on the date of this incident as alleged in the Complaint, including the following:

       (a)     Provide a general description of each such procedure or program, including all

               timing requirements for performing the inspection(s);

       (b)     Identify each person charged with said inspection(s);

       (c)     Identify each person charged with implementing and conducting each such

               procedure or program; and

       (d)     Identify all documents relating to such procedure or program and their findings.
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                                                19.

       Please identify any and all changes that have been made to your policies and/or procedures

concerning inspections at the subject property since the date of this incident as alleged in the

Complaint.

                                                20.

       Do you contend that the injuries complained of in this case were caused by the negligence

of any party other than Defendants or Defendants’ agents and servants? If your answer is yes,

please identify:

       (a)     The party whom you contend was guilty of such negligence;

       (b)     Every act of negligence which you claim was committed by such party or his agents

               and servants and which you contend proximately caused or contributed to the

               injuries complained of in this case;

       (c)     Each and every fact and reason upon which you base your contentions; and

       (d)     Each and every person who has any knowledge or information concerning each

               such fact.

                                                21.

       Please state whether you, or anyone acting on your behalf, had any knowledge or

information, of any nature whatsoever, that any condition existed at the subject premises which

could cause or contribute to the occurrence alleged in Plaintiff’s Complaint. If so:

       (a)     State the date you acquired such knowledge and/or information;

       (b)     State what knowledge and/or information you had;

       (c)     Identify the person or persons who made such knowledge and/or information

               known to you;
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        (d)    State whether any remedial and/or corrective action was taken based upon such

               knowledge;

        (e)    Identify the person who took any such remedial and/or corrective action, and state

               the date thereof; and

        (f)    Identify any documents relating to such condition and/or corrective action.

                                                 22.

        Please identify any inherent aspect of the subject premises where Plaintiff was injured,

which you believe posed a risk of physical injury to persons. As to each such fact or circumstance

identified:

        (a)    State when you were apprised of such inherent risk of danger; and

        (b)    Identify all documents relating to such fact or circumstance.

                                                 23.

        Identify each and every other document, tangible object or other item of real, documentary

or demonstrative evidence which contains, or may contain, material or information which is, which

may be, or which you contend is, relevant to any of the issues involved in this case, and identify

the person presently having possession, custody or control of each item listed.

                                                 24.

        Please identify any and all other similar incidents or allegations for which a visitor or

employee has complained (either by letter, email, or verbally) of sustaining an injury at the subject

property, occurring during the last three (3) years.

                                                 25.

        Please identify any and all other similar incidents or allegations for which you have

prepared an incident report concerning a visitor or employee who has complained of sustaining an
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injury at the subject property, occurring during the last three (3) years.

                                                 26.

        Please identify any and all other similar incidents or allegations for which a visitor or

employee has filed an insurance claim against Defendants and related to injuries at the subject

property, occurring during the last three (3) years.

                                                 27.

        Please identify any and all other similar incidents or allegations for which a visitor or

employee has filed a lawsuit against Defendants and related to injuries at the subject property,

occurring during the last three (3) years.

                                                 28.

        Identify any and all incident reports and/or documentary writings made by you concerning

the incident at issue.

                                                 29.

        Please state whether the falling object or debris related thereto was discovered by your

employees within ten feet of the area where Plaintiff was injured by the falling object on the

Premises on the date of this incident as alleged in the Complaint.

                                                 30.

        Please identify all individuals who had knowledge of the falling object that caused

Plaintiff’s injury on the subject property on the date of this incident as alleged in the Complaint.

                                                 31.

        Identify all instructions and documents related to inspecting the interior of the subject

property in effect on the date of this incident as alleged in the Complaint.
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                                                 32.

          Identify any and all safety manuals and written procedures effective on the date of this

incident as alleged in the Complaint, concerning installing, maintaining, cleaning or inspecting the

area of the Premises where Plaintiff was injured on the date of the incident..

                                                 33.

          Please state whether, in compiling your answers to these Interrogatories, you have made a

reasonable and diligent effort to identify and provide not only such facts as are within your personal

knowledge, but such facts as are also reasonably available to you and/or any person acting on your

behalf.

          This the 25th day of February, 2021.

                                                            Respectfully submitted,


                                                            /s/ Nigel Phiri
                                                            Nigel Phiri
                                                            Georgia Bar No. 110935
                                                            Attorney for Plaintiff


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                                                                                           CLERK OF STATE COURT
                                                                                           COBB COUNTY, GEORGIA
                                                                                              20-A-3901
                     IN THE STATE COURT OF COBB COUNTY
                              STATE OF GEORGIA                                            MAR 01, 2021 11:37 AM


 ANIEFIOK FRAME,                                         )
                                                         )
                 PLAINTIFF,                              )
                                                         )     CIVIL ACTION
 v.                                                      )     FILE NO: 20-A-3901
                                                         )
 DIVERSIFIED MAINTENANCE,                                )
 LLC; ABC CORPS. #1-3;                                   )
 JOHN DOES #1-3,                                         )
                                                         )
                 DEFENDANTS.                             )
                                                         )

         PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO DEFENDANTS

        COMES NOW Plaintiff and hereby requests that each Defendant admit for the purpose of

this action the truth of the following facts within forty-five (45) days after the date of service hereof

and in conformity with O.C.G.A. § 9-11-36. If any request cannot be truthfully admitted or denied,

please state in detail the reasons why you cannot truthfully admit or deny the matter. If you cannot

admit or deny the request in its entirety, please specify that part which you cannot admit or deny

and state in detail the reasons for any such qualifications. If you assert any claim of privilege in

response to any or all of these requests, set forth, with respect to each such request(s) as to which

a claim of privilege is asserted, the nature of the privileged claimed (e.g. attorney-client, work-

product, etc.) and the basis for your claim.


                                  REQUESTS FOR ADMISSION

                                                    1.

        Please admit that on July 16, 2019 (“the date of the incident”), you were conducting

business and/or performing on-site maintenance services at the Home Depot Store #111 located at

4101 Roswell Road, Marietta, Cobb County, Georgia 30062 (hereinafter the “Premises”).
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                                                   2.

        Please admit that on the date of this incident as alleged in the Complaint, your

employee/agent operated the subject equipment on the property located at 4101 Roswell Road,

Marietta, Cobb County, Georgia 30062.

                                                   3.

        Please admit that on the date of this incident as alleged in the Complaint, an employee/agent

was operating machinery near the area where Plaintiff was shopping on the Premises.

                                                   4.

        Please admit that Plaintiff was injured due to a falling object at the subject Premises on the

date of this incident.

                                                   5.

        Please admit that at the time of Plaintiff’s injury on the date of this incident as alleged in

the Complaint, Plaintiff was an invitee at and on the subject premises.

                                                   6.

        Please admit that Plaintiff was injured when one of Defendant’s employees caused an

object to fall from a shelf and hit Plaintiff while he was at the subject store.

                                                   7.

        Please admit that you possess video and/or still camera footage of Plaintiff at, on, or near

the Premises on the date of the incident.

                                                   8.

        Please admit you, through employees at the subject location, had actual knowledge of the

object on the shelf posing a hazard at the Premises before Plaintiff was injured.
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                                                   9.

       Please admit you, through employees at the subject location, had constructive knowledge

of the condition of the object on the shelf being a hazard at the Premises before Plaintiff was

injured.

                                                   10.

       Please admit that Plaintiff was injured by a falling object while he was in an area used by

invitees of the retail store where Defendant was conducting business and/or performing

maintenance services on the date of incident.

                                                   11.

       Please admit that on the date of this incident, the area where Plaintiff was injured is

included within a designated area for inspection by employees of Defendant.

                                                   12.

       Please admit that you created an internal report or investigation of the incident described

in the Complaint at or near the date of the incident.

                                                   13.

       Please admit that you do not possess an inspection log that indicates a representative of

Defendant inspected the area and where Plaintiff was injured within 30 minutes of the subject

incident on the date of incident.

                                                   14.

       Please admit that there were no signs or warnings posted in the area where Plaintiff was

injured prior to the subject incident on the date of incident.

                                                   15.

       Please admit that at least one member of Defendant’s staff observed Plaintiff after the
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injury occurred.

                                                  16.

       Please admit that at least one member of Defendants staff assisted Plaintiff after the injury

occurred.

                                                  17.

       Please admit that immediately following Plaintiff’s injury, Plaintiff complained that he had

become injured due to an object falling from the subject shelf while he was on the Premises.

                                                  18.

       Please admit that Plaintiff was injured as a result of a falling object on the Premises on the

date of the incident.

                                                  19.

       Please admit that you require your employees to immediately warn invitees of known

dangers on the Premises and remove the dangerous conditions as soon as possible.

                                                  20.

       Please admit that jurisdiction and venue for this action are proper in this Court.

                                                  21.

       Please admit that service of process on the Defendant was proper.

                                                  22.

       Please admit you were properly served with this suit.

       This 25th day of February, 2021.

                                                            Respectfully submitted

                                                            /s/ Nigel Phiri
                                                            Nigel Phiri
                                                            Georgia Bar No. 110935
                                                            Attorney for Plaintiff
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                                                                                        CLERK OF STATE COURT
                                                                                        COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                   IN THE STATE COURT OF COBB COUNTY
                            STATE OF GEORGIA                                           MAR 01, 2021 11:37 AM


 ANIEFIOK FRAME,                                      )
                                                      )
                PLAINTIFF,                            )
                                                      )      CIVIL ACTION
 v.                                                   )      FILE NO: 20-A-3901
                                                      )
 DIVERSIFIED MAINTENANCE                              )
 SYSTEMS, LLC; ABC CORPS. #1-3;                       )      JURY TRIAL DEMANDED
 JOHN DOES #1-3,                                      )
                                                      )
                DEFENDANTS.                           )
                                                      )

            AMENDED COMPLAINT AND DEMAND FOR TRIAL BY JURY

       COMES NOW, Plaintiff, Aniefiok Frame and states his Amended Complaint against the

above referenced Defendants as follows:


                               PARTIES AND JURISDICTION

                                                 1.

       Plaintiff Aniefiok Frame (“Plaintiff”) is a citizen and resident of the State of Georgia.

                                                 2.

       Defendant    Diversified    Maintenance        Systems,   LLC    (hereinafter   “Diversified

Maintenance”), is a foreign profit corporation registered with the Georgia Secretary of State and

is subject to the jurisdiction of this Court. Defendant may be served by issuing a summons and a

copy of the Amended Complaint to its registered agent for service of process, Incorp Services,

Inc., 9040 Roswell Road, Suite 500, Atlanta, GA, 30350.

                                                 3.

       Defendants, ABC CORPS. #1-3, are unidentified business entities which are potential,

third-party tortfeasors. Defendants ABC CORPS #1-3 are business entities which owned,
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managed, operated, maintained, serviced, cleaned, secured, or repaired some aspect of Defendant’s

business establishment and may have contributed to the negligence that injured Plaintiff(s). If and

when putative, entity Defendants ABC CORPS #1-3 are identified, Plaintiff will timely amend

her/his/their pleading and cause a Summons and Complaint to be properly served.

                                                 4.

       Defendants, JOHN DOES #1-3, are unidentified individuals who are potential, third-party

tortfeasors. Defendants JOHN DOES #1-3 either owned, managed, operated, maintained, serviced,

cleaned, secured, or repaired some aspect of Defendant’s business establishment and may have

contributed to the negligence that injured Plaintiff(s). If and when putative, Defendants JOHN

DOES #1-3 are identified, Plaintiff will timely amend her/his/their pleading and cause a Summons

and Complaint to be properly served.                              .

                                                 5.

       Pursuant to Article VI, Section II, Paragraph IV of the Georgia Constitution, venue is

proper because Defendant Diversified Maintenance was conducting business by providing on-site

services at 4101 Roswell Road, Marietta, Georgia 30062 in Cobb County.

                                 FACTUAL BACKGROUND

                                                 6.

       At all material times, Diversified Maintenance contracted their services to a home

improvement retail store located at 4101 Roswell Road, Marietta, Cobb County, Georgia 30062,

called The Home Depot (the “Premises”).

                                                 7.

       On or about July 16, 2019, Plaintiff was lawfully in Home Depot’s business establishment

for the purpose of shopping when an employee/agent of Defendant Diversified Maintenance who
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was operating a cleaning machine near where Plaintiff was shopping.

                                                  8.

       While Defendant Diversified Maintenance’s employee/agent was cleaning, he negligently

caused the machine to collide with a shelf and the shelf fell onto Plaintiff and caused Plaintiff to

suffer bodily injuries (the “Incident”).

                                                  9.

       Defendant Diversified Maintenance’s employee/agent’s negligent operation of the

cleaning machine that caused Plaintiff’s injuries was employed with Defendant Diversified

Maintenance and, specifically, performed services at Home Depot’s establishment for a sufficient

length of time that Defendant Diversified Maintenance knew or reasonably should have known

about the hazardous condition the negligent operation of cleaning machinery created.

                                                  10.

       At all relevant times, Plaintiff exercised reasonable care for his own safety.

                                           Count I: Negligence

       Plaintiff repeats and re-alleges paragraphs 1 through 10 above, verbatim.

                                                  11.

       At all material times, Defendant Diversified Maintenance controlled the mode, manner,

and means by which it operated its business, which required a safety program or appropriate safety

measures to protect customers from the foreseeable risks of harm arising from the operation of

such a business.

                                                  12.

       Defendant Diversified Maintenance negligently failed to exercise reasonable care to

protect its customers from foreseeable risks of harm, including:
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       (i)     Defendant Diversified Maintenance’s safety program was inadequate to protect

customers from being injured in view of foreseeable risks created by Defendant Diversified

Maintenance’s employee/agent’s operation of machinery while customers are shopping;

        (ii)   Defendant Diversified Maintenance negligently failed to follow its own protocols

or procedures which would have prevented the operation of such machinery in the vicinity of

clients and eliminated these risks of harm before Plaintiff was injured;

       (iii)   Defendant Diversified Maintenance failed to warn the customers, including

Plaintiff, of the latent defect/ hidden danger created by Defendant Diversified Maintenance’s

employee/agent’s negligent operation of the machine, which caused Plaintiff to suffer serious

personal injury.

                                                  13.

       As the direct and proximate result of Defendant Diversified Maintenance’s negligence,

Plaintiff suffered bodily injuries, pain and suffering; past medical expenses of medical care,

diagnosis, and treatment; aggravation of a pre-existing condition; loss of consortium and lost

capacity for the enjoyment of life, and other economic damages including, without limitation lost

wages. Plaintiff has incurred over $400,000 in past medical expenses. Plaintiff’s economic and

non-economic damages are continuing in nature and Plaintiff will continue to incur general and

special damages in the future.

                                                  14.

       As the direct and proximate result of Defendant Diversified Maintenance’s negligence,

Plaintiff suffered, continues to suffer, and may recover, general and special damages as allowed

by applicable law. Plaintiff will continue to incur such losses in the future.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 66 of 135




                                   Count II: Premises Liability

                                                 15.

       Plaintiff repeats and re-alleges paragraphs 1 through 15 above, verbatim.

                                                 16.

       At all material times, Defendant owed a duty to exercise ordinary care to maintain the

Premises and its approaches in reasonably safe condition.

                                                 17.

       Defendant Diversified Maintenance knew of the hidden danger when its employee/agent

operated the machine in the vicinity of where Plaintiff was shopping because it posed a foreseeable

and an unreasonable risk of harm to customers’ safety.

                                                 18.

       At all relevant times, Plaintiff had no knowledge of the unsafe and dangerous condition

and it was not discoverable to him in the exercise of reasonable care.

                                                 19.

       Defendant Diversified Maintenance is liable for the acts and omissions of its

employees/agents in failing to inspect the Premises and/or removing the hazardous condition under

a theory of respondeat superior.

                                                 20.
       As a direct and proximate result of Defendants’ negligence, Plaintiff has sustained:

       a. Serious injury as defined by the laws of the State of Georgia;

       b. Past, present and future mental and physical pain and suffering, disruption of normal

           life and diminution in the enjoyment of life;

       c. Past medical expenses of at least $405,386.70;

       d. Punitive Damages;
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          e. Lost wages; and

          f. Other past, present and future medical expenses and special damages to be presented

               at the trial of this case.

          WHEREFORE, Plaintiff demands judgment against Defendants and further, Plaintiff

prays:

          a.       That process issue requiring Defendants to appear and answer Plaintiff’s

allegations;

          b.       That Defendants be served with a copy of Plaintiff’s Complaint for Damages and

Demand for Trial by Jury;

          c.       That Plaintiff be granted a trial by jury for all issues so triable;

          d.       That Plaintiff recover all damages allowable and recoverable under applicable law

in amounts to be determined by a jury;

          e.       That Plaintiff recover general and special damages in amounts to be proved at trial;

and

          That this Honorable Court order such other and further relief as the Court deems just and

proper.
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     This 25th day of February, 2021.

                                           Respectfully submitted,


                                           /s/ Nigel Phiri
                                           Nigel Phiri
                                           Georgia Bar No. 110935
                                           Attorney for Plaintiff
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                                                                             CLERK OF STATE COURT
                                                                             COBB COUNTY, GEORGIA
                                                                               20-A-3901
                 IN THE STATE COURT OF COBB COUNTY
                                                                         FEB 26, 2021 11:47 AM
                          STATE OF GEORGIA

ANIEFIOK FRAME,                                   )
                                                  )
              PLAINTIFF,                          )
                                                  )     CIVIL ACTION
v.                                                )     FILE NO: 20-A-3901
                                                  )
DIVERSIFIED MAINTENANCE                           )
SYSTEMS, LLC; ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                                   )
                                                  )
              DEFENDANTS.                         )
                                                  )

            PLAINTIFF’S REQUEST FOR COPIES TO DEFENDANT

      COMES NOW Plaintiff, ANIEFIOK FRAME, by and through the undersigned

attorney, and here requests the attorney for the Defendants, DIVERSIFIED

MAINTENANCE SYSTEMS, LLC; ABC CORPS. #1-3; and JOHN DOES #1-3, to

provide copies of any and all documents secured in response to any and all Non-Party

Requests sent by Defendants in the above-styled action, pursuant to O.C.G.A. §9-11-

34(d)(1) and 9-11-26(e). This includes but is not limited to records from: The DirecTV

Group, Inc.; American Health Imaging of Conyers; Atlanta Family Physicians;

Piedmont Henry Hospital; and, Spine Center Atlanta.



      This 26th day of February, 2021.

                                           Respectfully Submitted,

                                           /s/ Nigel Phiri
                                           Nigel Phiri
                                           Georgia Bar Number 110935
                                           Attorney for Plaintiff
                                         Page 1
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                  IN THE STATE COURT OF COBB COUNTY
                           STATE OF GEORGIA

 ANIEFIOK FRAME,                                   )
                                                   )
               PLAINTIFF,                          )
                                                   )     CIVIL ACTION
 v.                                                )     FILE NO: 20-A-3901
                                                   )
 DIVERSIFIED MAINTENANCE                           )
 SYSTEMS, LLC; ABC CORPS. #1-3;                    )
 JOHN DOES #1-3,                                   )
                                                   )
               DEFENDANTS.                         )
                                                   )

                               CERTIFICATE OF SERVICE

       This certifies that I have this day served a copy of the foregoing PLAINTIFF’S

REQUEST FOR COPIES TO DEFENDANT using the court’s electronic filing system upon the

following:

                             RUTHERFORD & CHRISTIE LLP
                                     Carrie Christie
                                 Savannah L. Bowling
                                225 Peachtree Street, NE
                                South Tower, Suite 1750
                                 Atlanta, Georgia 30303

                               HANKS LAW GROUP, LLC
                                     Jerald R. Hanks
                                     Brandon G. Day
                          1380 West Paces Ferry Road, Suite 2265
                                 Atlanta, Georgia 30305

       This 26th day of February, 2021.

                                            Respectfully Submitted,

                                            /s/ Nigel Phiri
                                            Nigel Phiri
                                            Georgia Bar Number 110935
                                            Attorney for Plaintiff
                                          Page 3
   Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 72 of 135




MORGAN & MORGAN ATLANTA PLLC
P.O. Box 57007
Atlanta, Georgia 30343-1007
Telephone: (404) 965-8874




                                Page 4
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 73 of 135

                                                                                      CLERK OF STATE COURT
                                                                                      COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                   FEB 24, 2021 10:24 AM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                     CONSENT MOTION TO SUBSTITUTE PARTIES

       COME NOW, Plaintiff Aniefiok Frame (“Plaintiff”) and Defendant Home Depot, U.S.A.,

Inc. (collectively, the “Parties”), by and through undersigned counsel and pursuant to O.C.G.A. §§

9-11-15 and 9-11-21, and hereby jointly move this Honorable Court for the entry of an Order

substituting in Diversified Maintenance Systems, LLC for Home Depot, U.S.A., Inc. in the above-

captioned matter and dismissing Home Depot, U.S.A., Inc. without prejudice from the above-

captioned matter. As grounds therefore, the Parties state as follows:

   1. The Complaint in this case was filed on October 31, 2020. Through discovery, Plaintiff

       discovered that the correct party defendant is Diversified Maintenance Systems, LLC

       instead of Home Depot, U.S.A., Inc. given the nature of Plaintiff’s allegations.

   2. Plaintiff and Defendant Home Depot, U.S.A., Inc. have agreed to the instant substitution

       of defendant parties.

   3. A proposed Order granting the Parties’ Consent Motion to Substitute Proper Parties adding

       Diversified Maintenance Systems, LLC as the proper defendant in place of Home Depot,
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 74 of 135




       U.S.A., Inc. in the above-captioned matter and dismissing without prejudice Home Depot,

       U.S.A., Inc. is attached hereto.



Respectfully submitted, this 24th day of February, 2021.


Agreed and consented to by:

___Nigel Phiri_________
(Signed by Carrie Christie with expression permission from Nigel Phiri, Esq.)
Nigel Phiri, Esq.
Georgia State Bar No. 110935
Morgan & Morgan, PLLC
P.O. Box 57007
Atlanta, Georgia 30343
P: 404-965-8811
F: 404-496-7385
nphiri@forthepeople.com
Counsel for Plaintiff


___/s/ Carrie Christie_______
Carrie L. Christie
Georgia State Bar No. 125248
Savannah L. Bowling
Georgia State Bar No. 240161
225 Peachtree Street
South Tower, Suite 1750
Atlanta, Georgia 30303-1730
P: (404) 522-6888
F: (404) 522-0108
info@rclawllp.com
Counsel for Home Depot, U.S.A., Inc. and
Diversified Maintenance Systems, LLC
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 75 of 135




                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this date served a true and correct copy of the foregoing

CONSENT MOTION TO SUBSTITUTE PARTIES by electronic mail at the primary email

address on record with the electronic filing service provider:

                                        Nigel Phiri, Esq.
                                    Morgan & Morgan, PLLC
                                    nphiri@forthepeople.com



       This 24th day of February, 2021.

                                                             ___/s/ Carrie Christie_____
                                                             Carrie L. Christie
                                                             Georgia Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
                                                             Counsel for Home Depot, U.S.A.,
                                                             Inc. and Diversified Maintenance
                                                             Systems, LLC
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 76 of 135




                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

         ORDER GRANTING CONSENT MOTION TO SUBSTITUTE PARTIES

       The Consent Motion to Substitute Parties to substitute in Diversified Maintenance Systems,

LLC for Home Depot, U.S.A., Inc. as the proper defendant in the above-captioned matter, having

been read and considered, and for good cause shown, this Honorable Court hereby GRANTS the

Motion and Orders, Adjudges, and Decrees as follows:

       That pursuant to O.C.G.A. §§ 9-11-15, and 9-11-21, Plaintiff Aniefiok Frame is granted

leave of court to amend his Complaint to substitute Diversified Maintenance Systems, LLC for

and in the place of Home Depot, U.S.A., Inc., with all such claims against Diversified Maintenance

Systems, LLC relating back to the filing of the Complaint against Home Depot, U.S.A., Inc., and

that upon entry of this Order, Home Depot, U.S.A., Inc. shall be dismissed without prejudice and

removed from the style of this case as a party defendant. By consent of the parties, Diversified

Maintenance Systems, LLC shall be subject to all deadlines that were in place against Home Depot,

U.S.A., Inc. as not to cause delay in the proceedings.

       IT IS SO ORDERED, this ___ day of _________________, 2021.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 77 of 135




                                                   ______________________
                                                   Hon., John S. Morgan
                                                   State Court of Cobb County

Agreed and consented to by:

___Nigel Phiri_________
(Signed by Carrie Christie with expression permission from Nigel Phiri, Esq.)
Nigel Phiri, Esq.
Georgia State Bar No. 110935
Morgan & Morgan, PLLC
P.O. Box 57007
Atlanta, Georgia 30343
P: 404-965-8811
F: 404-496-7385
nphiri@forthepeople.com
Counsel for Plaintiff


___/s/ Carrie Christie_______
Carrie L. Christie
Georgia State Bar No. 125248
Savannah L. Bowling
Georgia State Bar No. 240161
225 Peachtree Street
South Tower, Suite 1750
Atlanta, Georgia 30303-1730
P: (404) 522-6888
F: (404) 522-0108
info@rclawllp.com
Counsel for Home Depot, U.S.A., Inc. and
Diversified Maintenance Systems, LLC
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 78 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                    FEB 19, 2021 12:55 PM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                 FIRST AMENDED NOTICE TO TAKE DEPOSITION OF
                          PLAINTIFF ANIEFIOK FRAME

To:    Aniefiok Frame
       c/o Nigel Phiri, Esq.
       Morgan & Morgan, PLLC
       P.O. Box 57007
       Atlanta, Georgia 30343
       nphiri@forthepeople.com

       Please take notice that, pursuant to § 26 and § 30 of the Georgia Civil Practice Act

(O.C.G.A. §9-11-26 and §9-11-30), the Defendant Home Depot, U.S.A., Inc. will take the

stenographic and may take the video deposition of Plaintiff Aniefiok Frame on March 24,

2021 commencing at 10:00 a.m. at the office of Nigel Phiri, Esq. located at Morgan &

Morgan, PLLC, 191 Peachtree St NE #4200, Atlanta, GA 30303 for the purpose of discovery,

the purpose of use as evidence at trial and any other purposes allowed under Georgia Law.

       Notice is further given that we reserve the right to conduct this deposition using the

secure web-based deposition option afforded by Veritext or, in the alternative, video

teleconferencing (VTC) services offered by Veritext (“Web Deposition”) or telephonically only

to provide remote access for those parties wishing to participate in the deposition via the internet
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 79 of 135




and/or telephone. Also take notice that, the court reporter may also be remote via one of the

options above for the purposes of reporting the proceeding and may or may not be in the

presence of the deponent.

       Please contact the noticing attorney at least five (5) calendar days prior to the deposition

to advise that it is your desire to appear via this remote participating means so that the necessary

credentials, call-in numbers, testing and information, if necessary, can be provided to you prior

to the proceedings.

       In addition, we also reserve the right to use instant visual display technology such that the

court reporter’s writing of the proceeding will be displayed simultaneous to the writing of the

same on one’s laptop, Ipad, tablet or other type of display device connected to the court reporter.

       The deposition will be taken before an officer duly authorized by law to administer oaths,

and will continue until completed.

       This 19th day of February, 2021.

                                      RUTHERFORD & CHRISTIE LLP

                                      /s/ Carrie L. Christie

                                      Carrie L. Christie
                                      Georgia State Bar No. 125248
                                      Savannah L. Bowling
                                      Georgia State Bar No. 240161
                                      Attorneys for Defendant Home Depot, U.S.A., Inc.

225 Peachtree Street NE
South Tower, Suite 1750
Atlanta, Georgia 30303
P: (404) 522-6888
F: (404) 522-0108
E-Mail: info@rclawllp.com
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 80 of 135




                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this date served the opposing party in the foregoing matter

with a copy of the FIRST AMENDED NOTICE TO TAKE DEPOSITION OF PLAINTIFF

ANIEFIOK FRAME by electronic mail at the primary email address on record with the

electronic filing service provider:

Nigel Phiri, Esq.                              Veritext Atlanta
Morgan & Morgan, PLLC                          calendar-ga@veritext.com
nphiri@forthepeople.com
Attorney for Plaintiff


       This 19th day of February, 2021.

                                      RUTHERFORD & CHRISTIE LLP

                                      /s/ Carrie L. Christie

                                      Carrie L. Christie
                                      Georgia State Bar No. 125248
                                      Savannah L. Bowling
                                      Georgia State Bar No. 240161
                                      Attorneys for Defendant Home Depot, U.S.A., Inc.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 81 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                    FEB 18, 2021 11:51 AM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this date served all counsel in the foregoing matter with a

copy of the DEFENDANT HOME DEPOT, U.S.A, INC.’S FIRST REQUEST FOR

PRODUCTION OF DOCUMETNS TO PLAINTIFF by electronic mail at the primary email

address on record with the electronic filing service provider:

                                        Nigel Phiri, Esq.
                                    Morgan & Morgan, PLLC
                                    nphiri@forthepeople.com
                                      Counsel for Plaintiff

       This 18th day of February, 2021.
                                                             RUTHERFORD & CHRISTIE LLP

                                                             /s/ Carrie L. Christie ___
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
                                                             Counsel for Defendant Home Depot,
                                                             U.S.A., Inc.




                                          Page 11 of 11
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 82 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                           IN THE STATE COURT OF COBB COUNTY
                                    STATE OF GEORGIA                                  FEB 18, 2021 11:51 AM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                CERTIFICATE OF SERVICE

       This is to certify that I have on this date served all counsel in the foregoing matter with a

copy of the DEFENDANT HOME DEPOT, U.S.A., INC.’S FIRST INTERROGATORIES

TO PLAINTIFF by electronic mail at the primary email address on record with the electronic

filing service provider:

                                       Nigel Phiri, Esq.
                                   Morgan & Morgan, PLLC
                                   nphiri@forthepeople.com
                                     Counsel for Plaintiff

       This 18th day of February, 2021.

                                                             RUTHERFORD & CHRISTIE LLP



                                                             /s/ Carrie L. Christie ___
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
                                                             Counsel for Defendant Home Depot,
                                                             U.S.A., Inc.




                                          Page 15 of 15
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 83 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                     FEB 18, 2021 12:14 PM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                 CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                 RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

        This is to certify that pursuant to the Uniform Superior Court Rule 5.2, I have on this date

served all counsel in the foregoing matter with a copy of the below by electronic mail at the

primary email address on record with the electronic filing service provider:

                                        Nigel Phiri, Esq.
                                  Georgia State Bar No. 110935
                                   nphiri@forthepeople.com

   1. Request for Production of Documents to 21st Century Insurance Company
   2. Two (2) Requests for Production of Documents to Allstate Insurance Company
   3. Request for Production of Documents to Harleysville Insurance Company
   4. Request for Production of Documents to Liberty Mutual Insurance Company
   5. Three (3) Requests for Production of Documents to Progressive Bayside Insurance
      Company
   6. Request for Production of Documents to Safeco Insurance Company of America

   This 18th day of February, 2021.

                                                             RUTHERFORD & CHRISTIE LLP

                                                             /s/ Carrie L. Christie
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 84 of 135




                                        Attorneys for Home Depot, U.S.A.,
                                        Inc.
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 85 of 135

                                                            CLERK OF STATE COURT
                                                            COBB COUNTY, GEORGIA
                                                              20-A-3901
                                                           DEC 09, 2020 03:28 PM
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 86 of 135
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 87 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                    FEB 18, 2021 11:51 AM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this date served all counsel in the foregoing matter with a

copy of the DEFENDANT HOME DEPOT, U.S.A, INC.’S FIRST REQUEST FOR

PRODUCTION OF DOCUMETNS TO PLAINTIFF by electronic mail at the primary email

address on record with the electronic filing service provider:

                                        Nigel Phiri, Esq.
                                    Morgan & Morgan, PLLC
                                    nphiri@forthepeople.com
                                      Counsel for Plaintiff

       This 18th day of February, 2021.
                                                             RUTHERFORD & CHRISTIE LLP

                                                             /s/ Carrie L. Christie ___
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
                                                             Counsel for Defendant Home Depot,
                                                             U.S.A., Inc.




                                          Page 11 of 11
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 88 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                           IN THE STATE COURT OF COBB COUNTY
                                    STATE OF GEORGIA                                  FEB 18, 2021 11:51 AM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                CERTIFICATE OF SERVICE

       This is to certify that I have on this date served all counsel in the foregoing matter with a

copy of the DEFENDANT HOME DEPOT, U.S.A., INC.’S FIRST INTERROGATORIES

TO PLAINTIFF by electronic mail at the primary email address on record with the electronic

filing service provider:

                                       Nigel Phiri, Esq.
                                   Morgan & Morgan, PLLC
                                   nphiri@forthepeople.com
                                     Counsel for Plaintiff

       This 18th day of February, 2021.

                                                             RUTHERFORD & CHRISTIE LLP



                                                             /s/ Carrie L. Christie ___
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
                                                             Counsel for Defendant Home Depot,
                                                             U.S.A., Inc.




                                          Page 15 of 15
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 89 of 135

                                                                                       CLERK OF STATE COURT
                                                                                       COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                     FEB 18, 2021 12:14 PM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                 CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                 RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

        This is to certify that pursuant to the Uniform Superior Court Rule 5.2, I have on this date

served all counsel in the foregoing matter with a copy of the below by electronic mail at the

primary email address on record with the electronic filing service provider:

                                        Nigel Phiri, Esq.
                                  Georgia State Bar No. 110935
                                   nphiri@forthepeople.com

   1. Request for Production of Documents to 21st Century Insurance Company
   2. Two (2) Requests for Production of Documents to Allstate Insurance Company
   3. Request for Production of Documents to Harleysville Insurance Company
   4. Request for Production of Documents to Liberty Mutual Insurance Company
   5. Three (3) Requests for Production of Documents to Progressive Bayside Insurance
      Company
   6. Request for Production of Documents to Safeco Insurance Company of America

   This 18th day of February, 2021.

                                                             RUTHERFORD & CHRISTIE LLP

                                                             /s/ Carrie L. Christie
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248
                                                             Savannah L. Bowling
                                                             Georgia State Bar No. 240161
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 90 of 135




                                        Attorneys for Home Depot, U.S.A.,
                                        Inc.
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 91 of 135

                                                                                    CLERK OF STATE COURT
                                                                                    COBB COUNTY, GEORGIA
                                                                                      20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                 FEB 18, 2021 11:32 AM


ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                 CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                        NOTICE OF SUBSTITUTION OF COUNSEL

Please substitute Carrie L. Christie (Lead Counsel) and Savannah L. Bowling (Associate Counsel)
as counsel for Home Depot, U.S.A., Inc. in this case. Substitute counsel’s address, phone number
and bar number are as follows:

Carrie L. Christie
Lead Counsel
Georgia State Bar No. 125248
Savannah L. Bowling
Associate Counsel
Georgia State Bar No. 240161
Rutherford & Christie LLP
225 Peachtree Street NE
South Tower, Suite 1750
Atlanta, GA 30303-1730
P: (404) 522-6888
F: (404) 522-0108
info@rclawllp.com
clc@rclawllp.com
slb@rclawllp.com

All further pleadings, orders, and notices should be sent to substitute counsel.

This 18th day of February, 2021.




                                            Page 1 of 3
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 92 of 135
        Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 93 of 135




                        IN THE STATE COURT OF COBB COUNTY
                                 STATE OF GEORGIA

ANIEFIOK FRAME,                     )
                                    )
                  Plaintiff,        )
                                    )                CIVIL ACTION FILE NO. 20-A-3901
v.                                  )
                                    )
HOME DEPOT, U.S.A., INC.;           )
ABC CORPS. #1-3;                    )
JOHN DOES #1-3,                     )
                                    )
                  Defendants.       )
____________________________________)

                                CERTIFICATE OF SERVICE

       This is to certify that I have on this date served all parties required under Ga. R. Sup. Ct.

4.3(3) in the foregoing matter with a copy of the NOTICE OF SUBSTITUTION OF COUNSEL

by electronic mail and U.S. Mail to the following addresses:

                                     Judge John S. Morgan
                               12 East Park Square, Courtroom 3B
                                       Marietta, GA 30090

                                        Nigel Phiri, Esq.
                                    Morgan & Morgan, PLLC
                                    nphiri@forthepeople.com
                                      Counsel for Plaintiff

                                      Jerald R. Hanks, Esq.
                                      Brandon G. Day, Esq.
                                  jrhanks@hankslawgroup.com
                                    bday@hankslawgroup.com
                                         Former Counsel

       This 18th day of February, 2021.

                                                             RUTHERFORD & CHRISTIE LLP

                                                             /s/ Carrie L. Christie ___
                                                             Carrie L. Christie
                                                             Georgia State Bar No. 125248



                                           Page 3 of 3
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 94 of 135

                  STATE COURT OF COBB COUNTY
                       STATE OF GEORGIA




                   CIVIL ACTION NUMBER 20-A-3901

                                                  $198.00 COST PAID
Frame, Afieniok

PLAINTIFF
                                            VS.
The Home Depot, Inc.
ABC CORPS. #1-3
DOES #1-3, JOHN

DEFENDANTS


                                         SUMMONS
TO: ABC CORPS. #1-3

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

                          Phiri Nigel
                          Morgan & Morgan, PLLC
                          P.O. BOX 57007
                          Atlanta, Georgia 30343

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If this action pertains to a Protective
Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint.

This 2nd day of November, 2020.
                                                  Clerk of State Court




12 East Park Square, Marietta, Georgia 30090-9630
                                                                                      Page 1 of 1
(770) 528-1220 Building B, First Floor-Civil Division
Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 95 of 135

                  STATE COURT OF COBB COUNTY
                       STATE OF GEORGIA




                   CIVIL ACTION NUMBER 20-A-3901

                                                  $198.00 COST PAID
Frame, Afieniok

PLAINTIFF
                                            VS.
The Home Depot, Inc.
ABC CORPS. #1-3
DOES #1-3, JOHN

DEFENDANTS


                                         SUMMONS
TO: DOES #1-3, JOHN

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

                          Phiri Nigel
                          Morgan & Morgan, PLLC
                          P.O. BOX 57007
                          Atlanta, Georgia 30343

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If this action pertains to a Protective
Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint.

This 2nd day of November, 2020.
                                                  Clerk of State Court




12 East Park Square, Marietta, Georgia 30090-9630
                                                                                      Page 1 of 1
(770) 528-1220 Building B, First Floor-Civil Division
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                                                                                          CLERK OF STATE COURT
                                                                                          COBB COUNTY, GEORGIA
                                                                                             20-A-3901
                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA                                        JAN 04, 2021 04:28 PM


ANIEFIOK FRAME,                                        )
                                                       )
     Plaintiff,                                        )          CIVIL ACTION NO.
                                                       )              20-A-3901
v.                                                     )
                                                       )
HOME DEPOT U.S.A., INC.; ABC CORPS #1-                 )
3; JOHN DOE #1-3                                       )
                                                       )
     Defendants.                                       )

       DEFENDANT HOME DEPOT U.S.A., INC.’S ANSWER AND DEFENSES TO
                       PLAINTIFFS’ COMPLAINT

         COMES NOW, Home Depot U.S.A., Inc. (hereinafter “Home Depot”), a defendant in the

above-referenced matter, and files its Answer and Defenses to Plaintiff’s Complaint and Demand

for Trial by Jury, showing this Honorable Court as follows:

                                         FIRST DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                       SECOND DEFENSE

         No act or omission on the part of Defendant Home Depot caused or contributed to the

damages complained of by Plaintiff; therefore, Plaintiff is barred from any recovery against

Defendant Home Depot whatsoever.

                                        THIRD DEFENSE

         Defendant Home Depot is not liable to Plaintiff because Plaintiff’s alleged damages were

caused by the acts or failure to act of persons or entities other than Defendant Home Depot.
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                                     FOURTH DEFENSE

       Defendant Home Depot breached no duty of care to Plaintiff; on account thereof, Plaintiff

is barred from any recovery against Defendant Home Depot whatsoever.

                                       FIFTH DEFENSE

       Defendant Home Depot is not liable to Plaintiff in any amount because any alleged

damages allegedly sustained by Plaintiff was not directly or proximately caused by Defendant

Home Depot.

                                       SIXTH DEFENSE

       Plaintiff may be barred and estopped to assert her alleged claim against Defendant Home

Depot due to her own acts and omissions in this matter.

                                     SEVENTH DEFENSE

       For its Seventh Defense, Defendant Home Depot responds to the individually enumerated

paragraphs of Plaintiff’s Complaint as follows:

                            PARTIES, JURISDICTION, AND VENUE

                                                  1.

       Defendant Home Depot is without knowledge or information sufficient to form a belief

as to the truth of the allegations of Paragraph 1 of Plaintiff’s Complaint, and, therefore, said

allegations stand denied.

                                                  2.

       In response to the allegations contained in Paragraph 2 of Plaintiff’s Complaint,

Defendant Home Depot admits it is a foreign for-profit corporation authorized and doing

business in the state of Georgia and subject to the jurisdiction of this Court. Defendant Home

Depot further admits it may be served at the address alleged in Plaintiff’s Complaint.



                                                  2
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                                                 3.

       Defendant Home Depot is without knowledge or information sufficient to form a belief

as to the truth of the allegations of Paragraph 3 of Plaintiff’s Complaint, and, therefore, said

allegations stand denied.

                                                 4.

       Defendant Home Depot is without knowledge or information sufficient to form a belief

as to the truth of the allegations of Paragraph 4 of Plaintiff’s Complaint, and, therefore, said

allegations stand denied.

                                                 5.

       Defendant Home Depot admits the allegations contained in Paragraph 5 of Plaintiff’s

Complaint.

                                  FACTUAL BACKGROUND

                                                 6.

       Defendant Home Depot admits the allegations contained in Paragraph 6 of Plaintiff’s

Complaint.

                                                 7.

       In response to the allegations contained in Paragraph 7 of Plaintiff’s Complaint, Home

Depot denies its employee/agent was operating a cleaning machine. Defendant Home Depot is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations of Paragraph 7 of Plaintiff’s Complaint, and, therefore, said allegations stand denied.

                                                 8.

       Defendant Home Depot denies the allegations of Paragraph 8 of Plaintiff’s Complaint.




                                                 3
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                                                  9.

       Defendant Home Depot denies the allegations of Paragraph 9 of Plaintiff’s Complaint.

                                                 10.

       Defendant Home Depot is without knowledge or information sufficient to form a belief

as to the truth of the allegations of Paragraph 10 of Plaintiff’s Complaint, and, therefore, said

allegations stand denied.

                                       Count I: Negligence

       Defendant Home Depot hereby reincorporates its defenses and responses to Paragraphs 1

through 10 of Plaintiff’s Complaint as if fully set forth herein.

                                                 11.

       Defendant Home Depot admits the allegations of Paragraph 11 of Plaintiff’s Complaint.

                                                 12.

       Defendant Home Depot denies the allegations of Paragraph 12 of Plaintiff’s Complaint,

including all subparts.


                                                 13.

       Defendant Home Depot denies the allegations of Paragraph 13 of Plaintiff’s Complaint.

                                                 14.

       Defendant Home Depot denies the allegations contained in Paragraph 14 of Plaintiff’s

Complaint.

                                   Count II: Premises Liability

                                                   15.

       Defendant Home Depot hereby reincorporates its defenses and responses to Paragraphs 1

through 14 of Plaintiff’s Complaint as if fully set forth herein.


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                                                  16.

          Defendant Home Depot denies the allegations contained in Paragraph 16 of Plaintiff’s

Complaint to the extent it imposed a duty not supported by Georgia law.

                                                  17.

          Defendant Home Depot denies the allegations contained in Paragraph 17 of Plaintiff’s

Complaint.

                                                  18.

          Defendant Home Depot is without knowledge or information sufficient to form a belief

as to the truth of the allegations of Paragraph 18 of Plaintiff’s Complaint, and, therefore, said

allegations stand denied.

                                                  19.

          Defendant Home Depot denies the allegations contained in Paragraph 19 of Plaintiff’s

Complaint.

                                                  20.

          Defendant Home Depot denies the allegations of Paragraph 20 of Plaintiff’s Complaint,

including all subparts.

                                                  21.

          To the extent Plaintiff’s WHEREFORE Clause requires a response, said allegations stand

denied.

                                                  22.

          Defendant Home Depot denies Plaintiffs are entitled to any relief in any manner.

                                                  23.

          Any allegation of Plaintiff’s Complaint not specifically admitted herein is hereby denied.



                                                   5
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       WHEREFORE, Defendant Home Depot having answered Plaintiff’s Complaint, hereby

requests judgment in its favor, that it be dismissed from this civil action, and for such other relief

as this Court deems justice to demand.



       This 4th day of January, 2021.

                                                      Respectfully submitted,

                                                      HANKS LAW GROUP, LLC


                                                      /s /Brandon G. Day
                                                      JERALD R. HANKS
                                                      Georgia Bar No. 323470
                                                      BRANDON G. DAY
                                                      Georgia Bar No. 101496
                                                      Attorneys for Defendant Home Depot U.S.A., Inc.
1380 West Paces Ferry Rd., Suite 2265
Atlanta, Georgia 30305
404-892-1991 (P)
404-892-8180 (F)
jrhanks@hankslawgroup.com
bday@hankslawgroup.com




                                                  6
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                         IN THE STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

ANIEFIOK FRAME,                                      )
                                                     )
     Plaintiff,                                      )          CIVIL ACTION NO.
                                                     )              20-A-3901
v.                                                   )
                                                     )
HOME DEPOT U.S.A., INC.; ABC CORPS #1-               )
3; JOHN DOE #1-3                                     )
                                                     )
     Defendants.                                     )

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day served a copy of the DEFENDANT HOME
DEPOT U.S.A., INC.’S ANSWER AND DEFENSES TO PLAINTIFFS’ COMPLAINT upon all
parties in this matter via PeachCourt addressed as follows:

                                           Nigel Phiri
                                191 Peachtree Street N.E. Ste. 4200
                                     Atlanta, Georgia 30343
                                    nphiri@ForThePeople.com

         This 4th day of January, 2021.

                                                     Respectfully submitted,
                                                     HANKS LAW GROUP, LLC

                                                     /s /Brandon G. Day
                                                     BRANDON G. DAY
                                                     Georgia State Bar No. 101496
                                                     Attorney for Defendant Home Depot U.S.A., Inc.
1380 West Paces Ferry Rd., Suite 2265
Atlanta, Georgia 30305
404-892-1991 (P)
404-892-8180 (F)
bday@hankslawgroup.com
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                                                                                          CLERK OF STATE COURT
                                                                                          COBB COUNTY, GEORGIA
                                                                                             20-A-3901
                        IN THE STATE COURT OF COBB COUNTY
                                 STATE OF GEORGIA                                        DEC 04, 2020 10:09 AM


 ANIEFIOK FRAME,                                       )
                                                       )
      Plaintiff,                                       )           CIVIL ACTION NO.
                                                       )               20-A-3901
 v.                                                    )
                                                       )
 THE HOME DEPOT, INC.; ABC CORPS #1-3;                 )
 JOHN DOE #1-3                                         )
                                                       )
      Defendants.                                      )

  JOINT MOTION TO SUBSTITUTE NAMED DEFENDANT AND STIPULATION
EXTENDING TIME FOR DEFENDANT HOME DEPOT U.S.A., INC. TO RESPOND TO
              PLAINTIFF’S COMPLAINT AND DISCOVERY

        COME NOW Plaintiff and Defendant The Home Depot, Inc., by and through counsel, and

jointly move this Court to substitute Home Depot U.S.A., Inc. for the current Defendant The Home

Depot, Inc., as a named Defendant in this matter. Further, the parties waive any service requirement

on Home Depot, U.S.A., Inc., and further stipulate that Defendant Home Depot U.S.A., Inc. shall

have up through and including to January 4, 2021, in which to file and serve its Answer and

Defenses to Plaintiff’s Complaint and up through and including to January 18, 2021 to serve its

response and objections to Plaintiff’s discovery requests, including all Requests for Admission.

        This 4th day of December, 2020.

 Prepared and submitted by:                            Agreed to by:
 HANKS LAW GROUP, LLC                                  MORGAN & MORGAN

 /s/Brandon G. Day                                     /s/Nigel Phiri
 _______________________________                       _______________________________
 JERALD R. HANKS                                       (Signed with express permission by Brandon G. Day)
 Georgia Bar No. 323470                                NIGEL PHIRI
 BRANDON G. DAY                                        Georgia Bar No. 110935
 Georgia Bar No. 101496                                Attorney for Plaintiff
 Attorneys for Home Depot U.S.A., Inc.
 1380 West Paces Ferry Rd., Suite 2265                 191 Peachtree Street N.E. Ste. 4200
 Atlanta, Georgia 30305                                Atlanta, Georgia 30343
 404-892-1991 (P)                                      404-965-8811 (P)
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                       IN THE STATE COURT OF COBB COUNTY
                                STATE OF GEORGIA

 ANIEFIOK FRAME,                                    )
                                                    )
      Plaintiff,                                    )          CIVIL ACTION NO.
                                                    )              20-A-3901
 v.                                                 )
                                                    )
 THE HOME DEPOT, INC.; ABC CORPS #1-3;              )
 JOHN DOE #1-3                                      )
                                                    )
      Defendants.                                   )

                               CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that I have this day served a copy of the JOINT MOTION TO
SUBSTITUTE NAMED DEFENDANT AND STIPULATION EXTENDING TIME FOR
DEFENDANT HOME DEPOT U.S.A., INC. TO RESPOND TO PLAINTIFF’S COMPLAINT
AND DISCOVERY upon all parties in this matter via PeachCourt addressed as follows:

                                         Nigel Phiri
                              191 Peachtree Street N.E. Ste. 4200
                                   Atlanta, Georgia 30343
                                  nphiri@ForThePeople.com

        This 4th day of December, 2020.

                                                   Respectfully submitted,
                                                   HANKS LAW GROUP, LLC

                                                   /s/Brandon G. Day

                                                   BRANDON G. DAY
                                                   Georgia State Bar No. 101496
                                                   Attorney for Defendant Home Depot U.S.A., Inc.
1380 West Paces Ferry Rd., Suite 2265
Atlanta, Georgia 30305
404-892-1991 (P)
404-892-8180 (F)
bday@hankslawgroup.com
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                       IN THE STATE COURT OF COBB COUNTY
                                STATE OF GEORGIA

 ANIEFIOK FRAME,                                     )
                                                     )
      Plaintiff,                                     )        CIVIL ACTION NO.
                                                     )            20-A-3901
 v.                                                  )
                                                     )
 THE HOME DEPOT, INC.; ABC CORPS #1-3;               )
 JOHN DOE #1-3                                       )
                                                     )
      Defendants.                                    )

Upon review of Plaintiff’s and Defendant’s joint motion,

       IT IS HEREBY ORDERED, that Home Depot, U.S.A., Inc. is substituted for The Home
Depot, Inc. as a Defendant in this matter.


        SO ORDERED this ______ day of _____________2020.




                                                   _____________________________
                                                   Judge, State Court of Cobb County

Prepared by:
HANKS LAW GROUP, LLC


/s/Brandon G. Day
_______________________________
BRANDON G. DAY
Georgia Bar No. 101496
Attorney for Home Depot U.S.A., Inc.
1380 West Paces Ferry Road, Suite 2265
Atlanta, Georgia 30327
bday@hanklawgroup.com
404-892-1991 (P)
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                   IN THE STATE COURT OF COBB COUNTY
                            STATE OF GEORGIA

ANIEFIOK FRAME,

               PLAINTIFF,
                                                          CIVIL ACTION
►~~                                                       FILE NO:

THE HOME DEPOT, INC.;
ABC CORPS. #1-3;                                           JURY TRIAL DEMANDED
JOHN DOES #1-3,

               DEFENDANTS.


                PLAINTIFF'S FIRST REQUESTS FOR PRODUCTION OF
                          DOCUMENTS TO DEFENDANTS

       COMES NOW Plaintiff and hereby requests that Defendant produce for inspection and

copying the following documents in the possession, custody, or control of Defendant and its

representative pursuant to O.C.G.A. § 9-11-34 within forty-five (45) days from the date of

service hereof at the Law Firm of Morgan & Morgan Atlanta, P.L.L.C., 191 Peachtree Street NE,

Suite 4200, Atlanta, Georgia 30303, or at such other time, date, and location agreed to by

counsel for defendant and the undersigned counsel, and to serve a written response hereto within

forry-five (45) days from the date of service hereof.

                                         DEFINITIONS

       If a privilege is claimed as to any documents covered by this request for production,

plaintiffs ask that each document to which privilege is claimed be identified with such

particularity and in such a manner that the Court, and not counsel unilaterally, may determine

whether the document is indeed entitled to privileged status.

       As used herein, the terms listed below mean the following:
      Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 107 of 135




       1. "Document" means every writing, electronic data or file, printing, record, graphic,

photographic or sound reproduction of every type and description that is in your possession,

control, custody and knowledge, including but not limited to correspondence, memoranda,

agreements, ininutes, assignments, records, stenographic and handwritten notes, diaries,

notebooks, account books, orders, invoices, notices, statements, bills, files, checks, check stubs,

account ledgers, maps, charts, diagrams, analyses, books, pamphlets, work sheets, data sheets,

statistical compilations, data cards, microfihns, computer records (including printouts, floppy

discs or other magnetic storage media), e-mails, tapes, photographs, pictures, recordings (both

voice and videotape) and all copies of such documents, writings or records .when such copies

contain any commentary or notation whatsoever that Does not appear on the original.

       2.    "Person" means any natural person, organization, corporation, partnership,

proprietorship, association, group of persons, or any governmental body or subdivision thereof.

       3. If you contend that any documents are privileged or protected by the attorney work

product doctrine, please produce a Privilege Log for those documents.

       4. The headers applied to these requests are for organizational purposes and for use as

shorthand in meet and confer conferences. The words in the headings are not a substitute for a

full reading of the words in the actual request.


                                   DOCUMENT REOUESTS

                                                   1.

        Each and every document, tangible object, or other item of real, demonstrative or

documentary evidence which provides any and all factual support for each defense asserted by

you in Answer to Plaintiff's Complaint.
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                                                  2.

       Any and all photographs, videos, drawings, maps or sketches of the scene of the incident.

                                                  ki

       Any surveillance photographs, movies or videotapes made of Plaintiff.

                                                  4.

       Please produce every insurance agreement under which an insurance business may be

liable to you to satisfy part or all of any judgment which may be entered in this action or to

indemnify or reimburse you for any payments made to satisfy such judgment.

                                                  5.

          All documents relating to any controversy as to whether or not coverage is afforded to

you under any insurance agreements, including but not limited to any non-waiver agreements

and letters of reservation of rights.

                                                   Ri

          Each and every document comprising a report made by any person, firm, association or

other entity (including insurance adjusters and management) that has conducted any

investigation to determine any of the facts pertaining to any of the issues in this action.

                                                   7.
      ~
          Each and every document comprising a report made by any person you expect to call as

an expert witness on the trial of this case.



          Please produce every document provided to you by any expert you expect to call as an

expert witness at trial of this case that relate to any facts about the subject matter of this action.
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                                                    ~

            Each and every document relating to any written or recorded statement inquired about in

    Interrogatory No. 6 of Plaintiff's First Interrogatories propounded to you.

                                                    10.

            Please produce all statements Plaintiff provided to you or in your possession concerning

    the subject matter of this action.

                                                    11.

            All documents that discuss, review, explain, outline, and/or define Defendant's

    procedure(s) for reporting, taking and/or filing incident reports, effective on the date of this

    incident as alleged in the Complaint.

                                                    12.

            All documents that discuss, review, explain, outline, and/or define Defendant's

,   procedure(s) for reporting, taking and/or filing incident reports, effective after the date of this

    incident as alleged in the Complaint.

                                                    13.

            The safety policies, manuals, standards, guidelines, handbooks, memos and procedures

    effective on the date of this incident as alleged in the Complaint for the subject property,

    including but not limited to any references to procedures for inspection of the premises, or any

    reference to the subj ect falling obj ect.

                                                    14.

            The safety policies, manuals, standards, guidelines, handbooks, memos and procedures

    effective after the date of this incident as alleged in the Complaint for the subject property,

    including but not limited to any references to procedures for inspection, maintenance or cleaning
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the shelves in the area where Plaintiff fell.

                                                 15.

        A blank copy of the incident report used by Defendants for documenting, and reporting

Plaintiff's injury at the subject property on the date of this incident as alleged in the Complaint.

                                                 16.

        A fully legible copy of the incident report completed by you and regarding Plaintiff's

injury at the subject property on the date of this incident as alleged in the Complaint.

                                                 17.

        All written notes, schedules, memos, computer documentation, etc., which evidence any

inspections of the subject property for the last three (3) years.

                                                  im
        Please produce all legal complaints filed against you since the date of the incident alleged

in the Complaint, for allegations of an injury at the subject Premises.

                                                 19.

        Please produce copies of all letters, documents, incident reports, insurance claims, and/or

emails concerning any allegation of a falling object at the Premises for the last three (3) years.

                                                 20.

        Please produce copies of the personnel file for each employee who, to your knowledge,

spoke with Plaintiff on the date of incident, cleaned or inspected within 20 feet radius of the area

on the Premises where Plaintiff was injured on the date of incident prior to Plaintiff s injury,

provided statements relating to any investigation or creation of an incident report related to the

condition of the shelf or the falling object on the date of incident, and preserved any video

recordings of Plaintiff on the Premises from the date of incident.
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                                                 21.

         Copies of any and all letters, documents, reports, invoices, service records and emails

concerning incidents of someone becoming injured on the subject property for the last three (3)

years.

                                                 22.

         Copies of any depositions taken of any of your employees, experts, consultants, or

witness in any case in the last five (5) years involving allegations of someone becoming injured

at the subject property.

                                                 23.

         Copies of any and all letters, documents, incident reports, insurance claims, and/or emails

concerning any allegation of a workers' compensation injury being sustained at the subject

property for the last three (3) years.

                                                 24.

         Please produce all technical bulletins or directives sent by you or posted at the subject

properry concerning slip and falls in the last five (5) years.

                                                  25.

          Any and all documents that relate to any firings, reprimands, suspensions, punishments,

complaints, grievances, allegations, denials of any and all of your employees, or agents, who

allegedly, or actually, failed to inspect the subject area concerning Plaintiffs injury at your

property on the date of the incident as alleged in the Complaint.

                                                  26.

          Any and all warnings you contend you provided, either verbally or by signage, with

respect to the area at the subject property prior to Plaintiffls injury on the date of the incident as
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alleged in the Complaint.

                                                27.

       Copies of any and all letters, documents, reports, invoices, service records and emails

concerning the subject object and shelf at the subject properry in the subject area in the last three

(3) years.

                                                28.

       Copies of any and all of your employee timesheets, reports, invoices, and emails

concerning work at the subject property on the date of the incident as alleged in the Complaint.

                                                 29.

        A copy of all witness and employee statements gathered in conjunction with the incident

report completed by you and regarding Plaintiffls injury at the subject property on the date of the

incident as alleged in the Complaint.

                                                 cm
        Please produce copies of any and all documents or reports related to the area on the

Premises where Plaintiff was injured on the date of this incident including the procedure for

warning patrons of potentially hazardous conditions that may be created in that area.

        This 315t day of October, 2020.

                                                           Respectfully submitted,

                                                           Ni el Phiri
                                                           Nigel Phiri
                                                           Georgia Bar No. 110935
                                                           Attorney for Plaintiff
MORGAN 8i MORGAN ATLANTA, PLLC
P.O. BOx 57007
Atlanta, GA 30343-1007
Main: (404) 965-8811
Direct: (404) 496-7275
Fax:    (404) 496-738
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                      IN THE STATE COURT OF COBB COUNTY
                               STATE OF GEORGIA

ANIEFIOK FRAME,

                   PLAINTIFF,
                                                             CIVIL ACTION
V.                                                           FILE NO:

TFIE HOME DEPOT, INC.;
ABC CORPS. #1-3;                                              JURY TRIAL DEMANDED
JOHN DOES #1-37

                   DEFENDANTS.


     PLAINTIFF'S FIRST CONTINUING INTERROGATORIES TO DEFENDANTS

        COIVIES NOW Plaintiff and serves upon each Defendant PlaintifF's First Continuing

Interrogatories to be answered under oath and within forty-five (45) days from service hereof in

accordance with O.C.G.A. § 9-11-33.

            These Interrogatories shall be deemed continuing so as to require supplemental answers if

you or your attorneys obtain further information between the time the answers are served and the

time of trial. Any such supplemental answers are to be filed and served upon counsel for

Plaintiffs within thirry (30) days from the receipt of such information, but not later than the time

of trial.



            When used in these Interrogatories, the term "Defendant," or any synonym thereof, is

intended to and shall embrace servants, representatives, private investigators, and others who are

in a position of or may have obtained information for or on behalf of any Defendant.

            As used in these Interrogatories, the following words and phrases have the meanings set

forth below.
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       (1) "You" and "your" means and refers to the Defendant to whom these interrogatories

are directed, and includes your agents, employees, insurance company and their agents and

employees, your attorneys, investigators and anyone else acting on your or their behalf.

       (2)     The term "document" nieans and includes all correspondence, writings, records,

memoranda, drawings, graphs, charts, photographs, motion pictures, videotapes, videodisks,

audiotapes or other sound recordings, books, ledgers, financial records, checks, drafts, receipts,

forms prescribed by government agencies, computer tapes, computer disks, computer printouts,

photocopies, microfilm, microfiche, and any other data, sound, or image compilation or

recording from which information regarding the described transactions can be obtained,

translated if necessary by respondent through appropriate and necessary devices into reasonably

useable and intelligible form.

       (3)     "Person" includes any individual, corporation, partnership, government, or

business entity, and group of persons associated in fact although not a legal entity.

       (4)     "Identify" means the following:

       (a)     When used with respect to individuals, means to state the full name, address,

telephone number, place of employment, job title and present whereabouts of such person;

       (b)     When used with respect to persons other than individuals, as the term "persons" is

identified in (3) above, means to state the f-ull name, address and telephone number of such

"person" together with the name, address, telephone number and job title of the employee, agent,

servant or representative of such "person" who has knowledge of the particular facts or

possession, custody or control of the particular documents of which discovery is sought;

        (c)    When used with respect to documents, tangible objects, or other items of real or

demonstrative evidence, means to list the items of which discovery is sought, describe them in




               r
      Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 115 of 135




specific detail (give an exhibit number for each if one has been assigned) and state the name,

address and telephone number of the person who presently has possession, custody or control

over each item of real or documentary evidence listed; and

       (d)     When used with respect to facts, circumstances or information, means to give a

concise summary of the nature and substance of the facts, circumstances or information of which

discovery is sought.

                                    INTERROGATORIES

                                                l.

       Please identify the full and correct legal names of the owners, manager(s), and operators

of the Home Depot located at 4101 Roswell Road, Marietta, Cobb County, Georgia 30062 (the

"Premises") on July 16, 2019 (the "date of incident"). If these are different persons or entities,

please clarify which parties owned and which managed or operated the Premises.

                                                2.

       Identify the person or persons responding to these Interrogatories and all individuals that

have provided assistance to you in responding to Plaintiff's First Interrogatories and Requests for

Documents.

                                                3.

       If you contend that Plaintiff has brought action against the wrong entity due to a

misnomer, please state the complete name of the correct defendant in this action; and further

state whether you will accept service of an amended Summons and Complaint reflecting the

information furnished by you in response to this Interrogatory.

                                                L!

        With particularity sufficient to satisfy O.C.G.A. § 9-11-26 (b)(2), please identify any
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policy or policies of liability insurance which would or might inure to the benefit of Plaintiff by

providing for payment of a part of, or all of any judgment rendered in favor of Plaintiff against

Defendants or against any other person, firm or corporation which is or may be liable to Plaintiff

by reason of the incident described in the Complaint.

                                                   5.

       Please identify all persons (including employees and other witnesses) who to you or your

representatives' knowledge, information or belief:

       (a)     Were eyewitnesses to the incident that gives rise to this lawsuit;

       (b)     Have relevant knowledge concerning the incident that gives rise to this lawsuit,

               any issue of liability or the damages in connection with this lawsuit, who were not

               identified in sub-part (a);

       (c)     Arrived at the scene of the occurrence complained of in this action immediately or

               shortly after its occurrence; and

       (d)     Assisted Plaintiff after sustaining an injury at your premises.

                                                   Ri

        Please identify all persons who have given written or recorded statements covering the

facts and/or circumstances of the incident which is the subject matter of this litigation, and state

the name of each person, the name and address of the person or entity taking each statement, the

date each statement was taken, and the name and address of each person having possession,

custody or control of each statement.

                                                   7.

        Please identify any videos, photographs, diagrams or other pictorial representations

concerning the events and happenings alleged in Plaintiff s Complaint.
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                                                ,
       Please identify each person (whether your employee or a claims adjuster, etc.) who has

made an investigation or study of the subject incident or location on the Premises.

                                                a
       With particularity sufficient to satisfy O.C.G.A. § 9-11-26 (b)(4), please identify all

persons (whether your employees or not) whom you expect to call or may call as an expert

witness upon the trial of this matter.

                                                10.

       Identify each person you employ who was working on the Premises on the date of the

incident, including the times they were working, their titles/positions, and whether they were

required to inspect and/or clean the area where Plaintiff fell on the Premises on the date of

incident.

                                                11.

        To your information or belief, has there been any surveillance, photographs or videos of

any party? If so, identify what parry was photographed or videoed, and identify all persons who

now have or have had custody and/or control of any records, tapes, films or other recording of

such surveillance.

                                                12.

        Please identify every time you have been informed about the falling object from the shelf

within a 20' radius of Plaintiff on the date of the incident. Include with your response the name

of the person providing the information, the date the information was provided, the individual

who received the information, and any and all steps that were taken in response to the

information.
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                                                    13.

       Please identify each individual who setup, cleaned, inspected or otherwise was

responsible for maintenance duties on the date of this incident as alleged in the Complaint at the

subject property. Were these person(s) employees or agents of Defendants? If not, please

identify what entity employed them at the time of Plaintiff's injury.

                                                    14.

       State each and every fact upon which you rely for each affirmative defense in your

Answer to Plaintiffls Complaint.

                                                    15.

       Identify any and all persons known to Defendants who have become injured at the subject

property at any time in the last three (3) years.

                                                    16.

        In reference to the individual(s) identified in the previous Interrogatory, please state the

following:

        (a)     The exact location at the subject property where the individual was injured;

        (b)     The cause of the injury;

        (c)     Whether any incident report was prepared;

        (d)     The information contained in such incident report;

        (e)     The name, addresses, home telephone numbers, present place of employment,

                work telephone numbers, job titles, and present whereabouts of any and all

                persons having knowledge regarding said injury.

                                                    17.

        Please state whether there existed, prior to the incident which is the subject of Plaintiffls
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Complaint, any procedure or program for the regular inspection of the subject property by

Defendants or someone acting in its behalf, which such procedure or program was designed to

identify and/or discover potential hazards to the users of the premises thereof. If so:

       (a)     Provide a general description of each such procedure or program, including the

               identity of each person charged with the responsibility for implementing and

               conducting each such procedure or program;

       (b)     State the . regularity with which each such procedure or program was to be

               implemented or conducted, if applicable;

       (c)     State whether the procedure or program had been carried out prior to the date of

               the subject incident; and

       (d)     Identify all documents relating to each such procedure or program and their

               fmdings.



        Please identify any and all procedures or programs for inspection of the subject properry,

existing on the date of this incident as alleged in the Complaint, including the following:

        (a)    Provide a general description of each such procedure or program, including all

               timing requirements for performing the inspection(s);

        (b)    Identify each person charged with said inspection(s);

        (c)    Identify each person charged with implementing and conducting each such

               procedure or program; and

        (d)     Identify all documents relating to such procedure or program and their findings.

                                                 19.

        Please identify any and all changes that have been made to your policies and/or
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procedures concerning inspections at the subject property since the date of this incident as

alleged in the Complaint.

                                                20.

       Do you contend that the injuries complained of in this case were caused by the

negligence of any parry other than Defendants or Defendants' agents and servants? If your

answer is yes, please identify:

       (a)     The party whom you contend was guilty of such negligence;

       (b)     Every act of negligence which you ' claim was committed by such parry or his

               agents and servants and which you contend proximately caused or contributed to

               the injuries complained of in this case;

       (c)     Each and every fact and reason upon which you base your contentions; and

       (d) ~ Each and every person who has any knowledge or information concerning each

               such fact.

                                                21.

        Please state whether you, or anyone acting on your behalf, had any knowledge or

information, of any nature whatsoever, that any condition existed at the subject premises which

could cause or contribute to the occurrence alleged in Plaintiff's Complaint. If so:

        (a)    State the date you acquired such knowledge and/or information;

        (b)    State what knowledge and/or information you had;

        (c)    Identify the person or persons who made such knowledge and/or information

               known to you;

        (d)     State whether any remedial and/or corrective action was taken based upon such

                knowledge;
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       (e)     Identify the person who took any such remedial and/or corrective action, and state

               the date thereof; and

       (f)     Identify any documents relating to such condition and/or corrective action.

                                                 22.

       Please identify any inherent aspect of the subject premises where Plaintiff was injured,

which you believe posed a risk of physical injury to persons. As to each such fact or

circumstance identified:

       (a)     State when you were apprised of such inherent risk of danger; and

       (b)     Identify all documents relating to such fact or circumstance.

                                                 23.

       Identify each and every other document, tangible object or other item of real,

documentary or demonstrative evidence which contains, or may contain, material or information

which is, which may be, or which you contend is, relevant to any of the issues involved in this

case, and identify the person presently having possession, custody or control of each item listed.

                                                 24.

       Please identify any and all other similar incidents or allegations for which a visitor or

employee has complained (either by letter, email, or verbally) of sustaining an injury at the

subject property, occurring during the last three (3) years.

                                                 25.

       Please identify any and all other similar incidents or allegations for which you have

prepared an incident report concerning a visitor or employee who has complained of sustaining

an injury at the subject properry, occurring during the last three (3) years.
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                                                 26.

       Please identify any and all other similar incidents or allegations for which a visitor or

employee has filed an insurance claim against Defendants and related to injuries at the subject

property, occurring during the last three (3) years.

                                                 27.

       Please identify any and all other similar incidents or allegations for which a visitor or

employee has filed a lawsuit against Defendants and related to injuries at the subject property,

occurring during the last three (3) years.

                                                  :

        Identify any and all incident reports and/or documentary writings made by you

concerning the incident at issue.

                                                 we

        Please state whether the falling object or debris related thereto was discovered by your

employees withiri ten feet of the area where Plaintiff was injured by the falling object on the

Premises on the date of this incident as alleged in the Complaint.

                                                 30.

        Please identify all individuals who had knowledge of the falling object that caused

Plaintiff's injury on the subject properry on the date of this incident as alleged in the Complaint.

                                                 31.

        Identify all instructions and documents related to inspecting the interior of the subject

property in effect on the date of this incident as alleged in the Complaint.

                                                 32.

        Identify any and all safety manuals and written procedures effective on the date of this
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incident as alleged in the Complaint, concerning installing, maintaining, cleaning or inspecting

the area of the Premises where Plaintiff was injured on the date of the incident..

                                                33.

       Please state whether, in compiling your answers to these Interrogatories, you have made a

reasonable and diligent effort to identify and provide not only such facts as are within your

personal lrnowledge, but such facts as are also reasonably available to you and/or any person

acting on your behalf.

       This the 31st day of October, 2020.

                                                           Respectfully submitted,


                                                           Nig_
                                                              el Phiri
                                                           Nigel Phiri
                                                           Georgia Bar No. 110935
                                                           Attorney for Plaintiff


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                   IN THE STATE COURT OF COBB COUNTY
                            STATE OF GEORGIA

ANIEFIOK FRAME,

               PLAINTIFF,
                                                            CIVIL ACTION
V.                                                          FILE NO:

THE HOME DEPOT, INC.;
ABC CORPS. #1-3;                                            JURY TRIAL DEMANDED
JOHN DOES #1-3,

               DEFENDANTS.


        PLAINTIFF'S FIRST REOUEST FOR ADMISSIONS TO DEFENDANTS

       COMES NOW Plaintiff and hereby requests that each Defendant admit for the purpose

of this action the truth of the following facts within forty-five (45) days after the date of service

hereof and in conformity with O.C.G.A. § 9-11-36. If any request cannot be truthfully admitted

or denied, please state in detail the reasons why you cannot trathfully admit or deny the matter.

If you cannot admit or deny the request in its entirety, please specify that part which you cannot

admit or deny and state in detail the reasons for any such qualifications. If you assert any claim

of privilege in response to any or all of these requests, set forth, with respect to each such

request(s) as to which a claim of privilege is asserted, the nature of the privileged claimed (e.g.

attorney-client, work-product, etc.) and the basis for your claim.


                                 REOUESTS FOR ADMISSION

                                                  1.

        Please admit that on July 16, 2019 ("the date of the incident"), you owned the Home

Depot Store #111 located at 4101 Roswell Road, Marietta, Cobb County, Georgia 30062

(hereinafter the "Premises")
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                                                   2.

        Please admit that on the date of this incident as alleged in the Complaint, you operated

the subject property located at 4101 Roswell Road, Marietta, Cobb County, Georgia 30062.

                                                   3.

        Please admit that on the date of this incident as alleged in the Complaint, an

employee/agent was operating machinery near the area where Plaintiff was shopping on the

Premises.

                                                   Q

        Please admit that Plaintiff was injured due to a falling object at the subject Premises on

the date of this incident.

                                                   5.

        Please admit that at the time of Plaintiffls injury on the date of this incident as alleged in

the Complaint, Plaintiff was an invitee at and on the subject premises.

                                                   91

        Please admit that Plaintiff was injured when one of Defendant's employees caused an

object to fall from a shelf and hit Plaintiff while he was at the subject store.

                                                    7.

        Please admit that you possess video and/or still camera footage of Plaintiff at, on, or near

the Premises on the date of the incident.

                                                   :

        Please admit you, through employees at the subject location, had actual knowledge of the

object on the shelf posing a hazard at the Premises before Plaintiff was injured.
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                                                    a
       Please admit you, through employees at the subject location, had constructive knowledge

of the condition of the object on the shelf being a hazard at the Premises before Plaintiff was

injured.

                                                    10.

       Please admit that Plaintiff was injured by a falling object while he was in an area used by

invitees of Defendant on the date of incident.

                                                    11.

       Please admit that on the date of this incident, the area where Plaintiff was injured is

included within a designated area for inspection by employees of Defendant.

                                                    12.

           Please admit that you created an internal report or investigation of the incident described

in the Complaint at or near the date of the incident.

                                                    13.

           Please admit that you do not possess an inspection log that indicates a representative of

Defendant inspected the area where Plaintiff was injured within 30 minutes of the subject

incident on the date of incident.

                                                     14.

           Please admit that there were no signs or warnings posted in the area where Plaintiff was

injured prior to the subject incident on the date of incident.

                                                     15.

           Please admit that at least one member of Defendant's staff observed Plaintiff after the

injury occurred.
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                                                  16.

       Please admit that at least one member of Defendants staff assisted Plaintiff after the

injury occurred.

                                                  17.

       Please admit that immediately following Plaintiff's injury, Plaintiff complained that he

had become injured due to an object falling from the subject shelf while he was on the Premises.



       Please admit that Plaintiff was injured as a result of a falling object on the Premises on

the date of the incident.

                                                  19.

       Please admit that you require your employees to immediately warn invitees of known

dangers on the Premises and remove the dangerous conditions as soon as possible.

                                                  20.

        Please admit that jurisdiction and venue for this action are proper in this Court.

                                                  21.

        Please admit that service of process on the Defendant was proper.

                                                  22.

        Please admit you were properly served with this suit.

        This 31St day of October, 2020.

                                                           Respectfully submitted

                                                           NigelPhiri
                                                           Nigel Phiri
                                                           Georgia Bar No. 110935
                                                           Attorney for Plaintiff
MORGAN & IVIORGAN ATLANTA, PLLC
P.O. Box 57007
     Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 128 of 135




Atlanta, GA 30343-1007
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Direct: (404) 496-7275
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      Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 129 of 135
                                                                                        ~" EFILED IN OFFICE
                                                                                        CLERK OF STATE COURT
                                                                                        COBB COUNTY, GEORGIA
                                                                                          20-A-3901
                   IN THE STATE COURT OF COBB COUNTY
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                            STATE OF GEORGIA
                                                                                      Q.+J(.a, v I.CX*IWW
                                                                                           Robin C. Bishop, Clerk drState Court
ANIEFIOK FRAME,                                                                                          Cobb County, Georgia



               PLAINTIFF,
                                                           CIVIL ACTION
V.                                                         FILE NO:

THE HOME DEPOT, INC.;
ABC CORPS. #1-3;                                            JURY TRIAL DEMANDED
JOHN DOES #1-3,

               DEFENDANTS.


                   COMPLAINT AND DEMAND FOR TRIAL BY JURY

       COMES NOW, Plaintiff, Aniefiok Frame and states his complaint against the above

referenced Defendants as follows:


                                PARTIES AND JURISDICTION

                                                  1.

       Plaintiff Aniefiok Frame ("Plaintiff') is a citizen and resident of the State of Georgia.

                                                  2.

       Defendant The Home Depot, Inc. (hereinafter "Home Depot"), is a foreign profit

corporation registered with the Georgia Secretary of State and is subject to the jurisdiction of this

Court. Defendant may be served by issuing a summons and a copy of the Complaint to its

registered agent for service of process, CSC of Cobb County, Inc., 192 Anderson Street S.E.,

Suite 125, Marietta, Georgia, 30060.

                                                  3.

       Defendants, ABC CORPS. #1-3, are unidentified business entities which are potential,

third-party tortfeasors. Defendants ABC CORPS #1-3 are business entities which owned,
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managed, operated, maintained, serviced, cleaned, secured, or repaired some aspect of

Defendant's business establishment and may have contributed to the negligence that injured

Plaintiff(s). If and when putative, entity Defendants ABC CORPS #1-3 are identified, Plaintiff

will timely amend her/his/their pleading and cause a Summons and Complaint to be properly

served.

                                                 0

          Defendants, JOHN DOES #1-3, are unidentified individuals who are potential, third-

party tortfeasors. Defendants JOHN DOES #1-3 either owned, managed, operated, maintained,

serviced, cleaned, secured, or repaired some aspect of Defendant's business establishment and

may have contributed to the negligence that injured Plaintiff(s). If and when putative, Defendants

JOHN DOES #1-3 are identified, Plaintiff will timely amend her/his/their pleading and cause a

Summons and Complaint to be properly served.

                                                 5.

          Pursuant to Article VI, Section II, Paragraph IV of the Georgia Constitution, venue is

proper because Defendant Home Depot resides in in Cobb County.

                                  FACTUAL BACKGROUND

                                                 C'~

          At all material times, Home Depot operated a home improvement retail store located at

4101 Roswell Road, Marietta, Cobb County, Georgia 30062, called The Home Depot (the

"Premises")

                                                 7.

          On or about July 16, 2019, Plaintiff was lawfully in Home Depot's busiriess

establishment for the purpose of shopping when an employee/agent who was operating a
      Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 131 of 135




cleaning machine near where Plaintiff was shopping.

                                                  E:1

       While Home Depot's employee/agent was cleaning, he negligent caused the machine to

collide with a shelf and the shelf fell onto Plaintiff and caused Plaintiff to suffer bodily injuries

(the "Incident").

                                                  a
       The Home Depot's employee/agent's negligent operation of the cleaning machine that

caused Plaintiffs injuries was employed at Home Depot's establishment for a sufficient length

of time that Home Depot knew or reasonably should have known about the hazardous condition

the negligent operation of cleaning machinery created.

                                                  10.

       At all relevant times, Plaintiff exercised reasonable care for his own safety.

                                           Count I: Negligence

       Plaintiff repeats and re-alleges paragraphs 1 through 10 above, verbatim.

                                                  11.

        At all material times, Home Depot controlled the mode, manner, and means by which it

operated its business, which required a safety program or appropriate safety measures to protect

customers from the foreseeable risks of harm arising from the operation of such a business.

                                                  12.

        Home Depot negligently failed to exercise reasonable care to protect its customers from

foreseeable risks of harm, including:

        (i)    Home Depot's safety program was inadequate to protect customers from being

injured in view of foreseeable risks created by Home Depot's employee/agent's operation of
      Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 132 of 135




machinery while customers are shopping;

          (ii)    Home Depot negligently failed to follow its own protocols or procedures which

would have prevented the operation of such machinery in the vicinity of clients and eliminated

these risks of harm before Plaintiff was injured;

          (iii)   Home Depot failed to warn its customers, including Plaintiff, of the latent defect/

hidden danger created by Home Depot's employee/agent's negligent operation of the machine,

which caused Plaintiff to suffer serious personal injury.

                                                    13.

          As the direct and proximate result of Home Depot's negligence, Plaintiff suffered bodily

injuries, pain and suffering; past medical expenses of inedical care, diagnosis, and treatment;

aggravation of a pre-existing condition; loss of consortium and lost capacity for the enjoyment of

life, and other economic damages including, without limitation lost wages. Plaintiff has incurred

over $400,000 in past medical expenses. Plaintiff's economic and non-economic damages are

continuing in nature and Plaintiff will continue to incur general and special damages in the

future.

                                                    14.

          As the direct and proximate result of Home Depot's negligence, Plaintiff suffered,

continues to suffer, and may recover, general and special damages as allowed by applicable law.

Plaintiff will continue to incur such losses in the future.

                                     Count II: Premises Liability

                                                    15.

          Plaintiff repeats and re-alleges paragraphs 1 through 15 above, verbatim.
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                                                  16.

       At all material times, Defendant owed a duty to exercise ordinary care to maintain the

Premises and its approaches in reasonably safe condition.

                                                  17.

       Home Depot knew of the hidden danger when its employee/agent operated the machine

in the vicinity of where Plaintiff was shopping because it posed a foreseeable and an

unreasonable risk of harm to customers' safety.

                                                   :

       At all relevant times, Plaintiff had no knowledge of the unsafe and dangerous condition

and it was not discoverable to him in the exercise of reasonable care.

                                                  19.

       Home Depot is liable for the acts and omissions of its employees/agents in failing to

inspect the Premises and/or removing the hazardous condition under a theory of Yespondeat

supenor.

                                                  20.
       As a direct and proximate result of Defendants' negligence, Plaintiff has sustained:

       a. Serious injury as defined by the laws of the State of Georgia;

       b. Past, present and future mental and physical pain and suffering, disruption of normal

           life and diminution in the enj oyment of life;

       c. Past medical expenses of at least $405,386.70;

       d. Lost wages; and

       e. Other past, present and future medical expenses and special damages to be presented

           at the trial of this case.

       WHERBFORE, Plaintiff demands judgment against Defendants and further, Plaintiff
         Case 1:21-cv-01293-AT Document 1-1 Filed 03/30/21 Page 134 of 135




prays:

          a.     That process issue requiring Defendants to appear and answer Plaintiff's

allegations;

          b.     That Defendants be served with a copy of Plaintiff's Complaint for Damages and

Demand for Trial by Jury;

          C.     That Plaintiff be granted a trial by jury for all issues so triable;

          d.     That Plaintiff recover all damages allowable and recoverable under applicable law

in amounts to be determined by a jury;

          e.     That Plaintiff recover general and special damages in amounts to be proved at

trial; and

          That this Honorable Court order such other and further relief as the Court deems just and

proper.

          This 31st day of October, 2020.


                                                               Respectfully submitted,


                                                               Nigel Phiri
                                                               Nigel Phiri
                                                               Georgia Bar No. 110935
                                                               Attorney for Plaintiff

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                       STATE COURT OF COBB COUNTY
                            STATE OF GEORGIA




                         CIVIL ACTION NUMBER 20-A-3901

                                                          $198.00 COST PAID
   Frame, Afieniok

   PLAINTIFF
                                                    VS.
   The Home Depot, Inc.
   ABC CORPS. #1-3
   DOES #1-3, JOHN

   DEFENDANTS

                                                   SUMMONS
   TO: THE HOME DEPOT, INC.

   You are hereby summoned and required to file with the Clerk of said court and serve upon the
   Plaintiffs attorney, whose name and address is:

                                   Phiri Nigel
                                   Morgan & Morgan, PLLC
                                   P.O. BOX 57007
                                   Atlanta, Georgia 30343

   an answer to the complaint which is herewith served upon you, within 30 days after service of
   this summons upon you, exclusive of the day of service. If this action pertains to a Protective
   Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
   If you fail to do so, judgment by default will be taken against you for the relief demanded in
   the complaint.

   This 2nd day of November, 2020.
                                                          Clerk of State Court

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              = v
              `~:                            ~`              Robin C. Bishop, Clerk oYState Court
                                                                           Cobb County, Georgia
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   12 East Park Square, Marietta, Georgia 30090-9630
                                                                                         Page 1 of 1
   (770) 528-1220 Building B, First Floor-Civil Division
